(1 of 30), Page 1 of 30        Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 1 of 30
                     Case 3:23-cv-01553-KAD Document 192 Filed 03/14/25 Page 1 of 3




                            IN THE UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT




           ORANE M. CORNISH, JR.,

           Plaintiff,



           v.



           TOWN OF BLOOMFIELD, et al.,

           Defendants.



           Case No.: 3:23-cv-01553

           District Court Case No. 3:23-cv-01553 (D. Conn.)



           NOTICE OF INTERLOCUTORY APPEAL



           TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:



           Please take notice that ORane M. Cornish, Jr., the Plaintiff in the above-referenced case, hereby appeals
           to the United States Court of Appeals for the Second Circuit from the order entered by Judge Robert M.
           Spector in the United States District Court for the District of Connecticut, on March 14, 2025, which
           denied Plaintiff’s Motion to Quash Deposition of Jamal Laidley and ordered that said deposition proceed
           (Dkt. No. 187).
(2 of 30), Page 2 of 30        Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 2 of 30
                     Case 3:23-cv-01553-KAD Document 192 Filed 03/14/25 Page 2 of 3




           This appeal is made pursuant to 28 U.S.C. § 1292(b), as the order in question involves a controlling
           question of law that may materially affect the outcome of the litigation and is not reviewable after final
           judgment.



           Plaintiff contends that the order is in violation of federal law, including but not limited to Franks v.
           Delaware, 438 U.S. 154 (1978), 18 U.S.C. § 1519 (destruction or alteration of records), and the due
           process clauses of the Fifth and Fourteenth Amendments. The deposition, which is based on the
           unlawful and falsified creation of evidence, directly violates federal civil rights laws and other controlling
           legal principles.



           The Plaintiff's grounds for this interlocutory appeal are as follows:



               a. The district court’s order permitting the deposition of Jamal Laidley is in violation of established
                  constitutional law and federal statutes concerning the creation of false evidence and the rights
                  of the plaintiff.

               b. The order is a clear abuse of discretion and violates principles of due process and the Fourth
                  Amendment, which prohibit law enforcement from manufacturing evidence.

               c. The court’s ruling is inconsistent with established precedent, including Franks v. Delaware, 18
                  U.S.C. § 1519, and 28 U.S.C. § 455, and undermines the integrity of the judicial process.

               d. The district court’s denial of the motion to quash is based on a fundamental error of law and can
                  result in irreparable harm to the Plaintiff if not immediately addressed by the Court of Appeals.

               e. Accordingly, Plaintiff respectfully requests that the United States Court of Appeals for the
                  Second Circuit review and reverse the district court’s order denying the motion to quash the
                  deposition.



           Respectfully submitted,



           /s/ O’Rane M. Cornish, Jr.                   DATED: March 14, 2025

           Pro Se Defendant



           8 Mallard Drive
(3 of 30), Page 3 of 30        Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 3 of 30
                     Case 3:23-cv-01553-KAD Document 192 Filed 03/14/25 Page 3 of 3




           Bloomfield, CT 06002
           (917) 242-0416
           Brigadetechnologies@yahoo.com
(4 of 30), Page 4 of 30         Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 4 of 30

                                                                          APPEAL,EFILE,MOTREF,PROSE,RMS
                                                  U.S. District Court
                                        District of Connecticut (New Haven)
                                 CIVIL DOCKET FOR CASE #: 3:23−cv−01553−KAD
                                                  Internal Use Only

              Cornish v. Town of Bloomfield et al                        Date Filed: 11/28/2023
              Assigned to: Judge Kari A. Dooley                          Jury Demand: Plaintiff
              Referred to: Judge Robert M. Spector                       Nature of Suit: 440 Civil Rights: Other
              Cause: 42:1983 Civil Rights Act                            Jurisdiction: Federal Question
              Plaintiff
              ORane M. Cornish, Jr.                        represented by ORane M. Cornish, Jr.
                                                                          181 Talmadge St
                                                                          Bristol, CT 06010
                                                                          917−242−0416
                                                                          Email: brigadetechnologies@yahoo.com
                                                                          PRO SE


              V.
              Defendant
              Town of Bloomfield

              Defendant
              Kelsey Marschall                             represented by Katherine E. Rule
              Police Officer, in her individual capacity                  Howd & Ludorf, LLC
                                                                          100 Great Meadow Road
                                                                          Ste 201
                                                                          Wethersfield, CT 06109
                                                                          860−249−1361
                                                                          Fax: 860−249−7665
                                                                          Email: krule@hl−law.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                         Kristan M. Jakiela
                                                                         Howd & Ludorf, LLC
                                                                         100 Great Meadow Road
                                                                         Ste 201
                                                                         Wethersfield, CT 06109
                                                                         203−927−4422
                                                                         Email: kjakiela@hl−law.com
                                                                         ATTORNEY TO BE NOTICED

              Defendant
              Lebreck                                      represented by Katherine E. Rule
              Police Officer, in her individual capacity                  (See above for address)
              TERMINATED: 11/06/2024                                      LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                         Kristan M. Jakiela
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

              Defendant
              Paul Hammick
              Police Chief, in his individual capacity

              Defendant
(5 of 30), Page 5 of 30            Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 5 of 30

              Zachary O'Bright
              Police Officer, in his individual capacity

              Defendant
              Downs
              Police Officer, in her individual capacity


               Date Filed      #     Docket Text
               11/28/2023       1 COMPLAINT against Paul Hammick, Lebreck, Kelsey Marschall, Town of
                                  Bloomfield, filed by Orane M. Cornish, Jr..(Gaskins, A) (Entered: 11/28/2023)
               11/28/2023       2 MOTION for Leave to Proceed in forma pauperis by Orane M. Cornish, Jr.. (Gaskins,
                                  A) (Entered: 11/28/2023)
               11/28/2023       3 Consent to Electronic Notice by Orane M. Cornish, Jr. (Gaskins, A) (Entered:
                                  11/28/2023)
               11/28/2023            Judge Kari A. Dooley and Judge Robert M. Spector added. (Johnson, D.) (Entered:
                                     11/28/2023)
               11/28/2023       4 Order on Pretrial Deadlines: Amended Pleadings due by 1/27/2024 Discovery due by
                                  5/29/2024 Dispositive Motions due by 7/3/2024
                                  Signed by Clerk on 11/28/2023. (Fanelle, N.) (Entered: 11/28/2023)
               11/28/2023       5 ELECTRONIC FILING ORDER FOR COUNSEL − PLEASE ENSURE
                                  COMPLIANCE WITH COURTESY COPY REQUIREMENTS IN THIS ORDER
                                  Signed by Judge Kari A. Dooley on 11/28/2023. (Fanelle, N.) (Entered: 11/28/2023)
               11/28/2023       6 STANDING PROTECTIVE ORDER
                                  Signed by Judge Kari A. Dooley on 11/28/2023. (Fanelle, N.) (Entered: 11/28/2023)
               11/28/2023       8 Notice: Pursuant to Federal Rule of Civil Procedure 7.1, a disclosure statement must
                                  be filed with a party's first appearance, pleading, petition, motion, response, or other
                                  request addressed to the Court and must be supplemented if any required information
                                  changes during the case.
                                  Signed by Clerk on 11/28/2023.(Gaskins, A) (Entered: 12/04/2023)
               11/29/2023       7 ORDER REFERRING CASE to Magistrate Judge Robert M. Spector for a ruling on 2
                                  MOTION for Leave to Proceed in forma pauperis and review of the complaint
                                  pursuant to 28 U.S.C. 1915.
                                  Signed by Judge Kari A. Dooley on 11/29/2023. Motion referred to Magistrate Judge
                                  Robert M. Spector. (Gould, K.) (Entered: 11/29/2023)
               12/11/2023       9 MOTION by Self−Represented Litigant to Participate in Electronic Filing by ORane
                                  M. Cornish, Jr. (Fanelle, N.) (Entered: 12/12/2023)
               12/13/2023      10 MOTION to Appoint Counsel by ORane M. Cornish, Jr. (Fanelle, N.) (Entered:
                                  12/13/2023)
               12/14/2023      11 ORDER denying 10 Motion to Appoint Counsel. A plaintiff in a civil case is not
                                  entitled to appointment of counsel on request and the Second Circuit repeatedly
                                  cautions against the routine appointment of counsel. See, e.g., Hendricks v. Coughlin,
                                  114 F.3d 390, 393 (2d Cir. 1997); Cooper v. A. Sargenti Co., 877 F.2d 170, 172 (2d
                                  Cir. 1989). Insofar as volunteer lawyer time is not always readily available, a plaintiff
                                  seeking appointment of counsel must show first that he "sought counsel and has been
                                  unable to obtain it." McDonald v. Head Criminal Court Supervisor Officer, 850 F.2d
                                  121, 123 (2d Cir. 1988). Once a plaintiff has made this showing, he must then
                                  demonstrate that his complaint passes the test of "likely merit." Cooper, 877 F.2d at
                                  173. He must demonstrate that the claims in the complaint have a sufficient basis to
                                  justify appointing a volunteer lawyer to pursue them. Notably, "even where a claim is
                                  not frivolous, counsel is often unwarranted where the [plaintiff's] chances of success
                                  are extremely slim." Id. at 171. Here, Plaintiff has demonstrated that he has sought but
                                  has, as of yet, been unable to obtain counsel. However, at this nascent stage of the
                                  litigation, the Court cannot ascertain the "likely merit" of Plaintiff's claims. Indeed, the
                                  complaint is currently undergoing review pursuant to 28 U.S.C. Section 1915. The 10
(6 of 30), Page 6 of 30      Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 6 of 30

                                Motion is therefore DENIED without prejudice should facts develop through the
                                litigation that permit reassessment of this issue. Plaintiff may find information about
                                the Federal Pro Se Legal Assistance Program at the following link:
                                https://nhlegal.org/federalprose/. The Clerk of the Court is also directed to mail
                                Plaintiff information on the Federal Pro Se Legal Assistance Program.

                                Signed by Judge Kari A. Dooley on 12/14/2023. (Chambers, Jillian) (Entered:
                                12/14/2023)
               12/15/2023   12 RECOMMENDED RULING: For the reasons stated in the attached Recommended
                               Ruling, the plaintiff's Motion to Proceed In Forma Pauperis (Doc. No. 2 ) is
                               GRANTED. The Court further recommends that: (a) the plaintiff's false arrest claim
                               be permitted to proceed as pleaded in the Complaint; (b) the plaintiff's malicious
                               prosecution and excessive force claims be DISMISSED without prejudice to a newly
                               filed Amended Complaint that plausibly alleges those claims; (c) any purported
                               "failure to investigate" claim be DISMISSED with prejudice; and (d) defendants
                               Town of Bloomfield, Hammick, and LaBreck be DISMISSED with prejudice.

                                This is a recommended ruling. See Fed. R. Civ. P. 72(b)(1). Any objections to this
                                recommended ruling must be filed with the Clerk of the Court within fourteen (14)
                                days of being served with this order. See Fed. R. Civ. P. 72(b)(2). Any party receiving
                                notice of an order or recommended ruling from the Clerk by mail shall have five (5)
                                additional days to file any objection. See D. Conn. L. Civ. R. 72.2(a). Failure to timely
                                object will preclude appellate review. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72
                                6(a), 6(e); D. Conn. L. Civ. R. 72.2; Small v. Secretary of H.H.S., 892 F.2d 15 (2d Cir.
                                1989) (per curiam); FDIC v. Hillcrest Assocs., 66 F.3d 566, 569 (2d Cir. 1995).

                                The plaintiff has three options in responding to this Recommended Ruling:

                                First, should the plaintiff disagree with the recommendations set forth in this Ruling,
                                he must file an objection within fourteen (14) days of being served herewith. See Fed.
                                R. Civ. P. 72(b)(2).

                                Second, should the plaintiff choose not to object to this Recommended Ruling and if
                                the Court (Dooley, J.) decides to adopt the Recommended Ruling, he may proceed on
                                the Complaint as written, but without any malicious prosecution, excessive force, or
                                "failure to investigate" claims, and without any claims against the Town of
                                Bloomfield, Chief Hammick, or Officer LaBreck. If the plaintiff elects to pursue this
                                option, he is directed to file a Notice on the docket by December 29, 2023, requesting
                                to proceed only on the Section 1983 claim for false arrest against Officer Marschall, as
                                set forth in the Complaint. Upon the filing of such a Notice, the Court will enter a
                                Scheduling Order for service of the Complaint, discovery, and other applicable
                                deadlines.

                                The last option available to the plaintiff is that he may decide to try to proceed on his
                                false arrest claim, as well as the malicious prosecution and excessive force claims that
                                the Complaint fails to adequately articulate. Under those circumstances, the plaintiff
                                must file an Amended Complaint on or before January 15, 2024 which repeats the
                                false arrest claim already alleged in the initial Complaint, but also sets forth plausible
                                malicious prosecution and excessive force claims, consistent with this Recommended
                                Ruling.

                                To be sure, if the plaintiff elects to file an Amended Complaint, that pleading must
                                comply with the Federal and Local Rules of Civil Procedure. It must be captioned
                                "Amended Complaint," and will completely supersede (that is, replace) the current
                                Complaint. Before filing any Amended Complaint, the plaintiff must carefully review
                                this Recommended Ruling and ensure that any Amended Complaint addresses the
                                deficiencies in the malicious prosecution and excessive force claims identified therein.
                                The Court will review the Amended Complaint pursuant to 28 U.S.C. § 1915(e)(2)(B).
                                If the Amended Complaint fails to state a claim for which relief may be granted as to
                                any claim already reviewed by the Court, such claims may be dismissed with prejudice
                                upon review under 28 U.S.C. §1915(e)(2)(B).
                                Objections due by 12/29/2023. Signed by Judge Robert M. Spector on December 15,
                                2023. (Spears, Andrew) (Entered: 12/15/2023)
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               12/15/2023   13 ORDER granting 2 Motion for Leave to Proceed in forma pauperis. (See Doc. No. 12
                               ). Signed by Judge Robert M. Spector on December 15, 2023. (Spears, Andrew)
                               (Entered: 12/15/2023)
               12/21/2023   14 AMENDED COMPLAINT against Paul Hammick, Lebreck, Kelsey Marschall, Town
                               of Bloomfield, filed by ORane M. Cornish, Jr. (Fanelle, N.) (Entered: 12/21/2023)
               01/18/2024   15 RECOMMENDED RULING: For the reasons set forth in the attached Recommended
                               Ruling, the Court respectfully recommends that: (a) the plaintiff's false arrest claim be
                               permitted to proceed as pleaded in the Amended Complaint, against both Officer
                               Marschall and Officer LaBreck; and (b) the plaintiff's remaining claims be
                               DISMISSED with prejudice, in light of the fatal deficiencies set forth in the Court's
                               initial Recommended Ruling (Doc. No. 12 ), and the Amended Complaint's failure to
                               cure them.

                                 This is a recommended ruling. See Fed. R. Civ. P. 72(b)(1). Any objections to this
                                 recommended ruling must be filed with the Clerk of the Court within fourteen (14)
                                 days of being served with this order. See Fed. R. Civ. P. 72(b)(2). Any party receiving
                                 notice of an order or recommended ruling from the Clerk by mail shall have five (5)
                                 additional days to file any objection. See D. Conn. L. Civ. R. 72.2(a). Failure to timely
                                 object will preclude appellate review. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72
                                 6(a), 6(e); D. Conn. L. Civ. R. 72.2; Small v. Secretary of H.H.S., 892 F.2d 15 (2d Cir.
                                 1989) (per curiam); FDIC v. Hillcrest Assocs., 66 F.3d 566, 569 (2d Cir. 1995).
                                 Objections due by 2/1/2024. Signed by Judge Robert M. Spector on January 18, 2024.
                                 (Spears, Andrew) (Entered: 01/18/2024)
               01/30/2024   16 MOTION to Include Post−Arraignment Liberty Restraint by ORane M. Cornish, Jr.
                               (Fanelle, N.) (Entered: 01/31/2024)
               01/30/2024   17 MOTION for Service of Process by ORane M. Cornish, Jr. Responses due by
                               2/20/2024. (Fanelle, N.) (Entered: 01/31/2024)
               02/08/2024   18 ORDER adopting 12 Recommended Ruling; adopting 15 Recommended Ruling;
                               denying 16 Motion to Include Post−Arraignment Liberty Restraint; granting 17
                               Motion for Service of Process. The Court has reviewed Magistrate Judge Spector's
                               Recommended Rulings concerning Plaintiff's 1 Complaint and 14 Amended
                               Complaint. The Recommended Rulings contain an accurate statement of the applicable
                               law and a thoroughly reasoned analysis and application of that law to the
                               circumstances presented here. The Plaintiff filed a 16 Motion to Include
                               Post−Arraignment Liberty Restraint claims, which the Court construes as an objection
                               to the 12 Recommended Ruling. The Court notes that Plaintiff was given the
                               opportunity to file an Amended Complaint, which he did, yet chose not to address the
                               post−arraignment liberty restraint issues identified by Judge Spector. The Court
                               concludes that even considering the new allegations provided by Plaintiff, such
                               allegations fail to identify a post−arraignment liberty restraint in support of Plaintiff's
                               malicious prosecution claim. See Harvey v. Greenwich, 3:17−cv−1417 (SRU), 2019
                               WL 1440385, at *9 (D. Conn. Mar. 31, 2019) ("The Second Circuit has held that
                               having to return to court on multiple occasions and having to remain in the state
                               constituted sufficient post−arraignment liberty restraints for the purposes of malicious
                               prosecution."). The Court has not found any case in which lost job opportunities and a
                               strain on personal relationships amounted to a restraint of liberty as contemplated by
                               the Fourth Amendment. Accordingly, Plaintiff's 16 Motion to Include
                               Post−Arraignment Liberty Restraints is DENIED.

                                 The Recommended Rulings therefore are Accepted, Adopted and So Ordered.
                                 Plaintiff's false arrest claims against Officers Marschall and LaBreck as pleaded in
                                 Plaintiff's Amended Complaint may proceed. Plaintiff's remaining claims are
                                 dismissed with prejudice. The Clerk of the Court is directed to terminate Defendants
                                 Town of Bloomfield and Paul Hammick.

                                 Plaintiff's 17 Motion for Service of Process against Officers Marschall and LaBreck is
                                 GRANTED. The Clerk of the Court is also directed to prepare and mail a service
                                 packet to Plaintiff.

                                 Signed by Judge Kari A. Dooley on 2/8/2024. (Chambers, Jillian) (Entered:
                                 02/08/2024)
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               02/12/2024   19 NOTICE TO COUNSEL/SELF−REPRESENTED PARTIES : Counsel or
                               self−represented parties initiating or removing this action are responsible for serving
                               all parties with attached documents and copies of 6 Protective Order, 3 Consent to
                               Electronic Notice filed by ORane M. Cornish, Jr., 2 MOTION for Leave to Proceed in
                               forma pauperis filed by ORane M. Cornish, Jr., 4 Order on Pretrial Deadlines, 8 Notice
                               re: Disclosure Statement, 1 Complaint filed by ORane M. Cornish, Jr., 5 Electronic
                               Filing Order.
                               Signed by Clerk on 2/12/2024. (Fanelle, N.) (Entered: 02/12/2024)
               02/12/2024   20 USM 285 forms together with Notice of Lawsuit/Request for Waiver of Service of
                               Summons and all instructions mailed to IFP plaintiff to complete and return to Clerk's
                               office. (Fanelle, N.) (Entered: 02/12/2024)
               02/14/2024   21 ORDER granting 9 Motion by Self−Represented Litigant to Participate in Electronic
                               Filing. Self−Represented Filers are Required to Comply with the Standard Electronic
                               Filing Order Docketed at Case Opening. Signed by Judge Kari A. Dooley on
                               2/14/2024. (Gould, K.) (Entered: 02/14/2024)
               02/14/2024   22 ELECTRONIC FILING ORDER − PLEASE ENSURE COMPLIANCE WITH
                               COURTESY COPY REQUIREMENTS IN THIS ORDER. SELF−REPRESENTED
                               FILERS ARE REQUIRED TO COMPLY WITH THE JUDGE'S STANDARD
                               ELECTRONIC FILING ORDER WHICH IS ATTACHED.
                               Signed by Judge Kari A. Dooley on 2/14/2024.(Gould, K.) (Entered: 02/14/2024)
               03/08/2024       USM 285 forms together with Notice of Lawsuit/Request for Waiver of Service,
                                Amended Complaint, Order granting IFP and Standing Orders sent to USM for service
                                on Officers Marschall and LaBreck. (Fanelle, N.) (Entered: 03/08/2024)
               03/12/2024   23 First MOTION to Appoint Counsel by ORane M. Cornish, Jr. (Cornish, ORane)
                               (Entered: 03/12/2024)
               03/12/2024   24 ORDER denying 23 Motion to Appoint Counsel. A plaintiff in a civil case is not
                               entitled to appointment of counsel on request and the Second Circuit repeatedly
                               cautions against the routine appointment of counsel. See, e.g., Hendricks v. Coughlin,
                               114 F.3d 390, 393 (2d Cir. 1997); Cooper v. A. Sargenti Co., 877 F.2d 170, 172 (2d
                               Cir. 1989). Insofar as volunteer lawyer time is not always readily available, a plaintiff
                               seeking appointment of counsel must show first that he "sought counsel and has been
                               unable to obtain it." McDonald v. Head Criminal Court Supervisor Officer, 850 F.2d
                               121, 123 (2d Cir. 1988). Once a plaintiff has made this showing, he must then
                               demonstrate that his complaint passes the test of "likely merit." Cooper, 877 F.2d at
                               173. He must demonstrate that the claims in the complaint have a sufficient basis to
                               justify appointing a volunteer lawyer to pursue them. Notably, "even where a claim is
                               not frivolous, counsel is often unwarranted where the [plaintiff's] chances of success
                               are extremely slim." Id. at 171. Here, Plaintiff has demonstrated that he has sought but
                               has, as of yet, been unable to obtain counsel. However, at this nascent stage of the
                               litigation, the Court cannot ascertain the "likely merit" of Plaintiff's claims. The
                               Defendants have not yet appeared and no discovery has been undertaken. The 23
                               Motion is therefore DENIED without prejudice should facts develop through the
                               litigation that permit reassessment of this issue.
                               Signed by Judge Kari A. Dooley on 3/12/2024. (Chambers, J.) (Entered: 03/12/2024)
               03/16/2024   25 First MOTION to Transfer/Disqualify/Recuse Judge Motion to Recuse Judger Kari
                               Dooley by ORane M. Cornish, Jr. (Attachments: # 1 Affidavit Motion to recuse Judge
                               Kari Dooley)(Cornish, ORane) (Entered: 03/16/2024)
               03/18/2024   26 NOTICE of Appearance by Katherine E. Rule on behalf of Lebreck, Kelsey Marschall
                               (Rule, Katherine) (Entered: 03/18/2024)
               03/18/2024   27 ORDER denying 25 Motion to Transfer/Disqualify/Recuse Judge. A judge must recuse
                               "[herself] in any proceeding in which [her] impartiality might reasonably be
                               questioned." 28 U.S.C. § 455(a). Further, a judge must recuse herself if she has "a
                               personal bias or prejudice concerning a party, or personal knowledge of disputed
                               evidentiary facts concerning the proceeding." 28 U.S.C. § 455(b)(1). "In determining
                               whether Section 455(a) requires recusal, the appropriate standard is objective
                               reasonableness −− whether an objective, disinterested observer fully informed of the
                               underlying facts, would entertain significant doubt that justice would be done absent
                               recusal." United States v. Carlton, 534 F.3d 97, 100 (2d Cir. 2008) (citation and
(9 of 30), Page 9 of 30      Case: 25-649, 03/20/2025, DktEntry: 4.2, Page 9 of 30

                                 quotation marks omitted). "[T]he grounds asserted in a recusal motion must be
                                 scrutinized with care, and judges should not recuse themselves solely because a party
                                 claims an appearance of partiality." In re Aguinda, 241 F.3d 194, 201 (2d Cir. 2001).

                                 Plaintiff seeks the Court's recusal solely because of prior judicial rulings denying
                                 Plaintiff's request for pro bono counsel as well as judicial rulings in unrelated cases.
                                 Plaintiff argues that the Court's prior rulings in this case and others suggest that the
                                 Court is either biased or exhibits an appearance of bias against him. However, prior
                                 rulings alone are not a valid basis for recusal. See Liteky v. United States, 510 U.S.
                                 540, 555 (1994); United States v. Andrews, No. 3:20−CV−1300, 2022 WL 819545, at
                                 *3 (D. Conn. Mar. 18, 2022) ("[I]t is... well−established that adverse rulings against
                                 the defendant do not render a judge biased such that recusal is proper." (internal
                                 quotation marks omitted)). Plaintiff offers no reason outside this Court's rulings to
                                 justify recusal. The Court advises Plaintiff however that it harbors no personal animus
                                 or antagonism toward Plaintiff or the merits of his case.

                                 Finally, Plaintiff's motion to recuse Magistrate Judge Spector is premised on a false or
                                 mistaken narrative. Whoever Plaintiff believes he is describing in the motion, that
                                 person is most assuredly not Magistrate Judge Robert S. Spector. Accordingly, this
                                 motion is DENIED in all respects.

                                 Signed by Judge Kari A. Dooley on 3/18/2024. (Chambers, J.) (Entered: 03/18/2024)
               03/19/2024   28 NOTICE of Appearance by Kristan M. Jakiela on behalf of Lebreck, Kelsey Marschall
                               (Jakiela, Kristan) (Entered: 03/19/2024)
               03/28/2024   29 MOTION for Extension of Time until May 6, 2024 to file a responsive pleading 14
                               Amended Complaint by Lebreck, Kelsey Marschall. (Rule, Katherine) (Entered:
                               03/28/2024)
               03/28/2024   30 First AFFIDAVIT Motion to prohibit surveillance Signed By ORane M. Cornish Jr
                               filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 03/28/2024)
               04/02/2024   31 ORDER granting 29 Motion for Extension of Time. Defendants shall respond to
                               Plaintiff's Amended Complaint on or before May 6, 2024.
                               Signed by Judge Kari A. Dooley on 4/2/2024. (Chambers, J.) (Entered: 04/02/2024)
               04/02/2024        Answer deadline updated for Lebreck to 5/6/2024; Kelsey Marschall to 5/6/2024.
                                 (Chambers, J.) (Entered: 04/02/2024)
               04/05/2024   32 SUMMONS Returned Executed by ORane M. Cornish, Jr. (Fanelle, N.) (Entered:
                               04/08/2024)
               04/11/2024   33 OBJECTION re 30 Affidavit (Objection to Motion to Prohibit Surveillance) filed by
                               Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered: 04/11/2024)
               04/11/2024   34 ORDER re 30 Affidavit. Although the nature of Plaintiff's request is not clear, the
                               Court construes Plaintiff's filing as a motion for a mandatory injunction prohibiting
                               Defendants from continuing to surveil him during the pendency of his case, an
                               accusation Defendants deny. Plaintiff also appears to seek a default, an adverse
                               inference instruction, and a finding of liability for the illegal surveillance as sanctions.
                               The injunctive relief can only be pursued pursuant to Rule 65, and Plaintiff does not
                               meet the rigorous requirements set forth therein. See N. Am. Soccer League, LLC v.
                               U.S. Soccer Fed'n, Inc., 883 F.3d 32, 37 (2d Cir. 2018) ("A party seeking a
                               preliminary injunction must show (1) irreparable harm; (2) either a likelihood of
                               success on the merits or both serious questions on the merits and a balance of
                               hardships decidedly favoring the moving party; and (3) that a preliminary injunction is
                               in the public interest. Because mandatory injunctions disrupt the status quo, a party
                               seeking one must meet a heightened legal standard by showing a clear or substantial
                               likelihood of success on the merits." (citations and quotations omitted)). Further, it is
                               unclear whether some persons against whom Plaintiff seeks this mandatory injunction
                               are even named defendants, which is generally a prerequisite to seeking injunctive
                               relief. See Tobin v. Doe, No. 3:04−cv−952 (SRU), 2006 WL 680507, at *3 (D. Conn.
                               Mar. 15, 2006). As Plaintiff has not established adequate basis for his request for
                               injunctive relief, nor has he established his entitlement to sanctions.
                               Signed by Judge Kari A. Dooley on 4/11/2024. (Chambers, J.) (Entered: 04/11/2024)
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              04/11/2024    35 First MOTION to Transfer/Disqualify/Recuse Judge MOTION TO RECONSIDER
                               MOTON TO RECUSE JUDGE KARI A. DOOLEY by ORane M. Cornish, Jr. (Cornish,
                               ORane) (Entered: 04/11/2024)
              04/12/2024    36 ORDER denying 35 Motion for Reconsideration Motion to Recuse. Plaintiff cites only
                               adverse rulings as demonstrating bias. As previously observed, prior rulings alone are
                               not a valid basis on which to seek recusal. See Liteky v. United States, 510 U.S. 540,
                               555 (1994); United States v. Andrews, No. 3:20−CV−1300, 2022 WL 819545, at *3
                               (D. Conn. Mar. 18, 2022) ("[I]t is... well−established that adverse rulings against the
                               defendant do not render a judge biased such that recusal is proper." (internal quotation
                               marks omitted)). Accordingly, for the reasons previously articulated, see ECF No. 27,
                               Plaintiff's motion for reconsideration of his motion to recuse is DENIED.
                               Signed by Judge Kari A. Dooley on 4/12/2024. (Chambers, J.) (Entered: 04/12/2024)
              04/23/2024    37 First OBJECTION OBJECTION TO DENIAL OF MOTION TO PROHIBIT
                               SURVEILLANCE filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                               04/24/2024)
              04/24/2024    38 AFFIDAVIT SUBPOENA DUCES TECUM Signed By ORane M. Cornish Jr filed by
                               ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 04/24/2024)
              04/24/2024    39 Second AFFIDAVIT OBJECTION TO DENIAL OF MOTION TO PROHIBIT
                               SURVEILLANCE Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr.
                               (Cornish, ORane) (Entered: 04/24/2024)
              04/25/2024    40 First RESPONSE RE: Objection to Proposed Case Management Plan and Proposed
                               Provisions, and Reasons for Non−Applicability of Qualified Immunity and Potential
                               Inclusion of Additional Defendants filed by ORane M. Cornish, Jr. (Cornish, ORane)
                               (Entered: 04/25/2024)
              04/25/2024    41 MOTION for Security for Costs by Lebreck, Kelsey Marschall. (Jakiela, Kristan)
                               (Entered: 04/25/2024)
              04/25/2024    42 MOTION to Quash Subpoena Duces Tecum by Lebreck, Kelsey Marschall.Responses
                               due by 5/16/2024 (Jakiela, Kristan) (Entered: 04/25/2024)
              04/25/2024    43 REPORT of Rule 26(f) Planning Meeting. (Jakiela, Kristan) (Entered: 04/25/2024)
              04/26/2024    44 *VACATED* ORDER granting 41 Motion for Security for Costs. The defendant(s)
                               having made application to the Clerk of Court for an order requiring the plaintiff(s) to
                               deposit or file a bond with sufficient surety in the sum of $500.00 pursuant to Local
                               Rule 83.3(a) of the Rules of Civil Procedure for the United States District of
                               Connecticut, it is ORDERED that the plaintiff(s) herein file a bond as security for
                               costs in this action within thirty (30) days from this date. Signed by Clerk on
                               4/26/2024. (Fanelle, N.) Modified on 4/29/2024 (Gould, K.). (Entered: 04/26/2024)
              04/26/2024    45 First OBJECTION OBJECTION TO MOTION TO QUASH SUBPOENA DUCES
                               TECUM filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 04/26/2024)
              04/26/2024    46 First OBJECTION OBJECTION TO MOTION OF SECURITY COSTS filed by ORane
                               M. Cornish, Jr. (Cornish, ORane) (Entered: 04/26/2024)
              04/26/2024    47 Third RESPONSE 3rd Emergency Motion to Recuse Judger Kari Dooley filed by
                               ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 04/26/2024)
              04/28/2024    48 Fourth AFFIDAVIT 4th EMERGENCY Motion to Recuse Judge Kari Dooley Signed
                               By ORane M. Cornish Jr filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                               04/28/2024)
              04/29/2024    49 ORDER vacating 44 Order on Motion for Security for Costs. Plaintiff has objected to
                               the requirement that he post a bond in the amount of $500. See ECF No. 46 . In light of
                               Plaintiff's in forma pauperis status, the Court concludes that Plaintiff has demonstrated
                               good cause pursuant to Local Rule 83.3(b) to waive the requirements of the rule.
                               Plaintiff is advised, however, that if judgment is entered in favor of Defendants, he
                               may be required to pay Defendants' Bill of Costs. See Federal Rule of Civil Procedure
                               54(d).
                               Signed by Judge Kari A. Dooley on 4/29/2024. (Chambers, J.) (Entered: 04/29/2024)
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              04/29/2024    50 Fifth MOTION to Transfer/Disqualify/Recuse Judge 5th EMERGENCY Motion to
                               Recuse Judge Kari Dooley by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                               04/29/2024)
              04/30/2024    51 ***Entered in Error*** First CERTIFICATE OF SERVICE by ORane M. Cornish, Jr
                               COMPLIANCE WITH COURT ORDER 37 (Cornish, ORane) Modified on 4/30/2024.
                               (Fanelle, N.) (Entered: 04/30/2024)
              05/03/2024    52 Order on Pretrial Deadlines. The Court has reviewed the Defendants' 43 Rule 26(f)
                               Report. The Court observes that Plaintiff declined to participate or cooperate in the
                               planning process as contemplated in Fed. R. Civ. P. 26. Instead, Plaintiff filed an
                               objection to Defendant's proposed case management plan. See ECF No. 40 . As a
                               self−represented party, Plaintiff is advised that the Federal Rules of Civil Procedure
                               often require cooperation between the parties. Rule 26 is but one such example.
                               Plaintiff's "objection" should have been his response directly to the Defendants in the
                               process of putting together the Rule 26(f) Report. As to proposed deadlines, Plaintiff
                               disagrees with Defendants' proposals but offers no alternatives. Having fully
                               considered both submissions, pursuant to Local Rule 16(b), the Court enters the
                               following orders:

                                The Plaintiff shall move to amend the pleadings or move to join additional parties by
                                May 24, 2024. This extended deadline accommodates Plaintiff's concern that more
                                time is necessary than was proposed in the Defendants' submission. All discovery shall
                                be concluded by April 26, 2025. Dispositive motions, if any (see Local Rule 56(c)),
                                shall be filed by May 27, 2025. The Court will set a date for filing a joint trial
                                memorandum after the close of discovery. The joint trial memorandum shall comport
                                with this Court's standing order, which will be separately docketed. Plaintiff may move
                                to amend the scheduling order if additional time is required to complete discovery
                                upon a showing of good cause and due diligence in attempting to meet these deadlines.
                                See Local Rule 7(b).

                                A telephonic status conference is scheduled for May 9, 2025 at 10:00AM.

                                Signed by Judge Kari A. Dooley on 5/3/2024. (Chambers, J.) (Entered: 05/03/2024)
              05/03/2024        Set Deadlines/Hearings: Motion to Amend Pleadings due by 5/24/2024; Discovery due
                                by 4/26/2025; Dispositive Motions due by 5/27/2025; Telephonic Status Conference
                                set for 5/9/2025 at 10:00 AM before Judge Kari A. Dooley. (Chambers, J.) (Entered:
                                05/03/2024)
              05/03/2024    53 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                               COUNSEL/THE PARTIES WILL RECEIVE.
                               Telephonic Status Conference set for May 9, 2025 at 10:00 AM before Judge Kari A.
                               Dooley. Telephonic Conference Line: 888−278−0296; Access Code: 80−77−899.
                               (Chambers, J.) (Entered: 05/03/2024)
              05/03/2024    54 STANDING ORDER ON JOINT TRIAL MEMORANDA. See attached.
                               Signed by Judge Kari A. Dooley on 5/3/2024. (Chambers, J.) (Entered: 05/03/2024)
              05/03/2024    55 ORDER granting 42 Motion to Quash Subpoena. Plaintiff may obtain the information
                               he seeks through the normal discovery process by serving Interrogatories or Requests
                               for Production pursuant to Fed. R. Civ. P. 33 & 34.
                               Signed by Judge Kari A. Dooley on 5/3/2024. (Chambers, J.) (Entered: 05/03/2024)
              05/03/2024    56 ORDER denying 47 Third Emergency Motion to Recuse; denying 48 Fourth
                               Emergency Motion to Recuse; denying 50 Fifth Emergency Motion to Recuse for the
                               reasons previously articulated. See ECF No. 27 , 36 . Plaintiff's Third and Fourth
                               Motion to Recuse is also premised on the undersigned's alleged (though unspecified)
                               ties to law enforcement. This claim is factually flawed and is therefore not discussed
                               further. To the extent that Plaintiff's motion is premised on the Court granting
                               Defendants' Motion for Security of Costs, the Court has vacated that order. To the
                               extent that the Fifth Motion to Recuse is premised on the order vacating the order on
                               security of costs, the Court's accurate reference to the Federal Rules of Civil Procedure
                               is not a basis upon which to infer bias.
                               Signed by Judge Kari A. Dooley on 5/3/2024. (Chambers, J.) (Entered: 05/03/2024)
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              05/04/2024    57 First RESPONSE MOTION TO APPEAL THE GRANTING OF MOTION TO QUASH
                               SUBPOENA filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 05/04/2024)
              05/06/2024    58 MOTION to Dismiss by Lebreck, Kelsey Marschall.Responses due by 5/28/2024
                               (Attachments: # 1 Memorandum in Support)(Jakiela, Kristan) (Entered: 05/06/2024)
              05/06/2024    59 NOTICE by Lebreck, Kelsey Marschall re 58 MOTION to Dismiss (Attachments: # 1
                               Exhibit Federal Rules of Civil Procedure 12, District of Connecticut Local Rules of
                               Civil Procedure 7)(Jakiela, Kristan) (Entered: 05/06/2024)
              05/07/2024    60 First RESPONSE Response to Court's Order on Pretrial Deadlines filed by ORane M.
                               Cornish, Jr. (Cornish, ORane) (Entered: 05/07/2024)
              05/07/2024    61 First OBJECTION 58 OBJECTION TO MOTION TO DISMISS filed by ORane M.
                               Cornish, Jr. (Cornish, ORane) Modified on 5/9/2024 to link document (Imbriani, S).
                               (Entered: 05/07/2024)
              05/08/2024    62 ***FILED IN ERROR − DUPLICATE ENTRY*** First NOTICE by ORane M.
                               Cornish, Jr OBJECTION TO MOTION TO DISMISS (Cornish, ORane) Modified on
                               5/9/2024 (Imbriani, S). (Entered: 05/08/2024)
              05/09/2024    63 First RESPONSE Response to MOTION TO QUASH SUBPOENA DUCES TECUM
                               filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 05/09/2024)
              05/16/2024    64 First AFFIDAVIT Motion to Serve Subpoena on the Town of Bloomfield for Video
                               (Officer Body Cam) Evidence Signed By ORane M. Cornish Jr filed by ORane M.
                               Cornish, Jr. (Cornish, ORane) (Entered: 05/16/2024)
              05/16/2024    65 Second AFFIDAVIT 2ND OBJECTON TO MOTION TO DISMISS Signed By ORane
                               M. Cornish Jr filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 05/16/2024)
              05/16/2024    66 Second NOTICE by ORane M. Cornish, Jr 2ND OBJECTON TO MOTION TO
                               DISMISS (Cornish, ORane) (Entered: 05/16/2024)
              05/21/2024    67 REPLY to Response to 58 MOTION to Dismiss filed by Lebreck, Kelsey Marschall.
                               (Jakiela, Kristan) (Entered: 05/21/2024)
              05/23/2024    68 MOTION to Seal and File Substitute Motion to Dismiss and accompanying
                               Memorandum [Doc. 58 et seq] by Lebreck, Kelsey Marschall. (Jakiela, Kristan)
                               (Entered: 05/23/2024)
              05/23/2024    69 MOTION to Quash Subpoena Duces Tecum by Lebreck, Kelsey Marschall.Responses
                               due by 6/13/2024 (Jakiela, Kristan) (Entered: 05/23/2024)
              05/23/2024    70 First AFFIDAVIT MOTION TO ADD SERGEANT NICOLE DOWNS AS A
                               DEFENDANT Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr.
                               (Cornish, ORane) (Entered: 05/23/2024)
              05/24/2024    71 ORDER re 57 Motion to Appeal. Plaintiff seeks reconsideration of the Court's order
                               granting Defendants' Motion to Quash Subpoena. See ECF No. 55 . The Court's
                               decision does not deny him access to the information he seeks. As the Court advised
                               Plaintiff in granting the motion to quash, he may seek this information through
                               Requests for Production and Interrogatories served pursuant to Fed. R Civ. P. 33 and
                               34. If Plaintiff wishes to appeal the Court's decision, he may file a Notice of Appeal
                               indicating as much.
                               Signed by Judge Kari A. Dooley on 5/24/2024. (Chambers, J.) (Entered: 05/24/2024)
              05/24/2024    72 ORDER granting 69 Motion to Quash for the reasons stated in ECF No. 55 . Signed by
                               Judge Kari A. Dooley on 5/24/2024. (Chambers, J.) (Entered: 05/24/2024)
              05/24/2024    73 ORDER granting in part and denying in part 68 Motion to Seal. To the extent that
                               Defendants wish to file a substitute Motion to Dismiss, that motion is granted. To the
                               extent that Defendants would like to seal their Motion to Dismiss as well as several
                               other filings on the docket, that motion is denied without prejudice. The standard for
                               sealing judicial documents is not a showing of good cause. See D. Conn. Local Rule
                               5(e). Defendants may refile their motion as permitted by and consistent with the
                               requirements of Local Rule 5(e). Signed by Judge Kari A. Dooley on 5/24/2024.
                               (Chambers, J.) (Entered: 05/24/2024)
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              05/24/2024    74 First AFFIDAVIT PLAINTIFF'S OPPOSITION TO DEFENDANTS' MOTION TO
                               SEAL AND FILE SUBSTITUTE Signed By ORane M. Cornish Jr filed by ORane M.
                               Cornish, Jr. (Cornish, ORane) (Entered: 05/24/2024)
              05/24/2024    75 ORDER denying without prejudice 70 Motion to Add Sergeant Nicole Downs as a
                               Defendant. Plaintiff may file a motion for leave to amend with an accompanying
                               memorandum of law in support of his request consistent with Federal Rule of Civil
                               Procedure 15(a)(2) as well as D. Conn. Local Rule 7(f).
                               Signed by Judge Kari A. Dooley on 5/24/2024. (Chambers, J.) (Entered: 05/24/2024)
              05/24/2024    76 First AFFIDAVIT Motion for Leave to Amend Complaint and Memorandum of Law in
                               Support thereof Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr.
                               (Cornish, ORane) (Entered: 05/24/2024)
              05/27/2024    77 First AFFIDAVIT MOTION FOR LEAVE TO AMEND COMPLAINT TO ADD
                               OFFICER ZACHARY O'BRIGHT AS A DEFENDANT Signed By ORane M. Cornish
                               Jr filed by ORane M. Cornish, Jr. (Attachments: # 1 Memorandum in Support
                               MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO AMEND
                               COMPLAINT TO ADD OFFICER ZACHARY O'BRIGHT AS A
                               DEFENDANT)(Cornish, ORane) (Entered: 05/27/2024)
              05/27/2024    78 First AFFIDAVIT MOTION AND MEMORANDUM TO ADD CHARGE OF HATE
                               CRIME AGAINST POLICE OFFICER KELSEY MARSCHALL Signed By ORane M.
                               Cornish Jr filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 05/27/2024)
              05/28/2024    79 ORDER denying without prejudice 75 77 motions for leave to amend complaint and
                               denying with prejudice 78 motion to add charge of hate crime against Defendant
                               Marschall. Plaintiff's motions at ECF Nos. 75 and 77 fail to comply with Fed. R. Civ.
                               P. 15 or Local Rule 7(f). Although Plaintiff indicates in ECF No. 75 that the motion
                               will be accompanied by a proposed amended complaint, no such proposed amended
                               complaint was attached or subsequently submitted. The Court is unable to assess these
                               motions for leave to file as currently docketed, nor can Defendants reasonably be
                               expected to assess the request without seeing the proposed amended complaint.
                               Further, Plaintiff may not proceed by bringing claims against diverse defendants in
                               piecemeal fashion. On or before June 21, 2024, Plaintiff is directed to file a motion for
                               leave to file an amended complaint, raising all claims against all defendants in one
                               fulsome filing, accompanied by the proposed amended complaint.

                                At ECF No. 78 , Plaintiff seeks leave to amend the claims against Defendant Marschall
                                to add an allegation that she violated Title 18, United States Code § 249. However, it is
                                well−settled that federal criminal statutes do not give rise to a private right of action
                                and may only be enforced by the federal government. See Oyarzun v. President/CEO
                                of Exchange Place Preservation Partners, LLC, No. 3:21−cv−1230 (JAM), 2021 WL
                                6197081, at *2 (D. Conn. Dec. 31, 2021) (no plausible claim for relief under 18 U.S.C.
                                § 249 because "it is well established that criminal statutes do not give rise to a private
                                right of action for civil damages") (citing Schlosser v. Kwak, 16 F.4th 1078, 1083 (2d
                                Cir. 2021)). ECF No. 78 is therefore DENIED. The proposed amended complaint due
                                by June 21, 2024 shall NOT include any claim for alleged violations of 18 U.S.C. §
                                249.
                                Signed by Judge Kari A. Dooley on 5/28/2024. (Chambers, J.) (Entered: 05/28/2024)
              05/28/2024        Set Deadlines: Motion to Amend Pleadings due by 6/21/2024. (Chambers, J.)
                                (Entered: 05/28/2024)
              05/30/2024    80 First NOTICE by ORane M. Cornish, Jr Notice to the Court: Request for Subpoena of
                               Officer Kelsey Marschall's Body Camera Footage (Cornish, ORane) (Entered:
                               05/30/2024)
              05/31/2024    81 First AFFIDAVIT MOTION TO COMPEL COMPLIANCE WITH FOI REQUEST,
                               ISSUE SUBPOENA, AND IMPOSE SANCTIONS Signed By ORane M. Cornish Jr
                               filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 05/31/2024)
              06/04/2024    82 MOTION to Quash Subpoenas by Lebreck, Kelsey Marschall.Responses due by
                               6/25/2024 (Jakiela, Kristan) (Entered: 06/04/2024)
              06/04/2024    83 OBJECTION re 81 Affidavit (Objection to Motion to Compel Compliance with FOI
                               Request and Motion for Sanctions) filed by Lebreck, Kelsey Marschall. (Jakiela,
                               Kristan) (Entered: 06/04/2024)
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              06/04/2024    84 First Memorandum in Opposition LEGAL MEMORANDUM: INTENTIONAL
                               INFLICTION OF EMOTIONAL DISTRESS re 58 MOTION to Dismiss , 82 MOTION
                               to Quash Subpoenas filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                               06/04/2024)
              06/04/2024    85 Second AFFIDAVIT PLAINTIFF'S OBJECTION TO DEFENDANTS' MOTION TO
                               QUASH SUBPOENAS Signed By ORane M. Cornish Jr filed by ORane M. Cornish,
                               Jr. (Cornish, ORane) (Entered: 06/04/2024)
              06/04/2024    86 First AFFIDAVIT PLAINTIFF'S RESPONSE TO DEFENDANTS' OBJECTION TO
                               MOTION TO COMPEL COMPLIANCE WITH FOI REQUEST AND MOTION FOR
                               SANCTIONS Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr.
                               (Cornish, ORane) (Entered: 06/04/2024)
              06/05/2024    87 First AFFIDAVIT NOTICE TO THE COURT REGARDING LACK OF
                               COMMUNICATION FROM DEFENDANTS' ATTORNE Signed By ORane M.
                               Cornish Jr filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 06/05/2024)
              06/08/2024    88 First AFFIDAVIT OBJECTION TO ORDER 62 AND EMERGENCY REQUEST FOR
                               STATE PROCEEDING INTERVENTION AND MOTION TO GRANT LEAVE TO
                               ADD JUDGE MAUREEN KEEGAN TO THE COMPLAINT (1) Signed By ORane M.
                               Cornish Jr filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 06/08/2024)
              06/09/2024    89 First AFFIDAVIT Plaintiff's Notification of Safety Concerns and Request for
                               Injunction Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr. (Cornish,
                               ORane) (Entered: 06/09/2024)
              06/10/2024    90 ORDER granting 82 Motion to Quash for the reasons stated in ECF No. 55. The Court
                               reiterates, for Plaintiff's benefit, that he may seek information through the discovery
                               process as provided for in the Federal Rules of Civil Procedure. Nor is this litigation
                               the appropriate forum to challenge a response by the Town of Bloomfield, which is not
                               a defendant, or these defendants, to a request made pursuant to a Freedom of
                               Information Act. Because Plaintiff has not established an adequate basis for his
                               requests, he has likewise not established his entitlement to sanctions. To the extent that
                               Plaintiff attempts to raise an intentional infliction of emotional distress claim for the
                               first time, see ECF No. 84 , Plaintiff is reminded that he may submit a proposed
                               amended complaint by June 21, 2024, that shall include all claims against all
                               defendants accompanied by a memorandum of law.
                               Signed by Judge Kari A. Dooley on 6/10/2024. (Chambers, J.) (Entered: 06/10/2024)
              06/10/2024    91 ORDER re 88 Affidavit. It appears that this motion was intended to be filed in a
                               different case. The Court shall take no action on this request.
                               Signed by Judge Kari A. Dooley on 6/10/2024. (Chambers, J.) (Entered: 06/10/2024)
              06/10/2024    92 ORDER denying 89 Request for Injunction. Injunctive relief can only be pursued
                               pursuant to Rule 65, and Plaintiff does not meet the rigorous requirements set forth
                               therein. See N. Am. Soccer League, LLC v. U.S. Soccer Fed'n, Inc., 883 F.3d 32, 37
                               (2d Cir. 2018) ("A party seeking a preliminary injunction must show (1) irreparable
                               harm; (2) either a likelihood of success on the merits or both serious questions on the
                               merits and a balance of hardships decidedly favoring the moving party; and (3) that a
                               preliminary injunction is in the public interest. Because mandatory injunctions disrupt
                               the status quo, a party seeking one must meet a heightened legal standard by showing a
                               clear or substantial likelihood of success on the merits." (citations and quotations
                               omitted)). Further, it does not appear that certain persons or entities against whom
                               Plaintiff seeks this injunction are even named defendants, which is generally a
                               prerequisite to seeking injunctive relief. See Tobin v. Doe, No. 3:04−cv−952 (SRU),
                               2006 WL 680507, at *3 (D. Conn. Mar. 15, 2006). Plaintiff is cautioned that the mere
                               fact that the Plaintiff has litigation pending before this Court does not serve to immerse
                               the Court in Plaintiff's day to day activities or his potential interactions with the
                               Bloomfield Police Department. Nor is it appropriate to ask the Court to communicate
                               with non−parties on Plaintiff's behalf. This, the Court will not do.
                               Signed by Judge Kari A. Dooley on 6/10/2024. (Chambers, J.) (Entered: 06/10/2024)
              06/10/2024    93 First AFFIDAVIT PLAINTIFFS FIRST SET OF DISCOVERY DEMANDS TO
                               DEFENDANTS Signed By ORane M. Cornish Jr filed by ORane M. Cornish, Jr.
                               (Cornish, ORane) (Entered: 06/10/2024)
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              06/11/2024     94 ORDER re 93 Affidavit filed by ORane M. Cornish, Jr. For future reference, Plaintiff
                                is advised that per the Court's Local Rules, discovery is not to be filed on the docket.
                                See D. Conn. Local Rule 5(f).
                                Signed by Judge Kari A. Dooley on 6/11/2024. (Chambers, J.) (Entered: 06/11/2024)
              06/20/2024     95 AMENDED COMPLAINT Amended Complaint against All Defendants, filed by
                                ORane M. Cornish, Jr.(Cornish, ORane) (Entered: 06/20/2024)
              07/08/2024     96 MOTION for Extension of Time until August 12, 2024 to file a responsive pleading 95
                                Amended Complaint by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered:
                                07/08/2024)
              07/08/2024     97 First RESPONSE PLAINTIFF'S RESPONSE AND OBJECTION TO DEFENDANTS'
                                MOTION FOR EXTENSION OF TIME filed by ORane M. Cornish, Jr. (Cornish,
                                ORane) (Entered: 07/08/2024)
              07/09/2024     98 ORDER granting over objection 96 Motion for Extension of Time. Defendants shall
                                file a responsive pleading to the 95 Amended Complaint on or before August 12, 2024.
                                Signed by Judge Kari A. Dooley on 7/9/2024. (Chambers, J.) (Entered: 07/09/2024)
              07/09/2024     99 Second OBJECTION Objection to the Court's Granting of Defendants' Motion for
                                Extension of Time filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                                07/09/2024)
              07/11/2024    100 First RESPONSE PLAINTIFFS MOTION FOR SUBPOENA TO COMPEL
                                PRODUCTION OF EVIDENCE filed by ORane M. Cornish, Jr. (Cornish, ORane)
                                (Entered: 07/11/2024)
              07/13/2024    101 First RESPONSE PLAINTIFF'S MOTION FOR RECONSIDERATION OF
                                IN−PERSON HEARING REQUEST (1) filed by ORane M. Cornish, Jr. (Cornish,
                                ORane) (Entered: 07/13/2024)
              07/15/2024    102 ORDER re 101 Motion for Reconsideration. It appears that this motion was intended
                                to be filed in a different case. The Court shall take no action on this request.
                                Signed by Judge Kari A. Dooley on 7/15/2024. (Chambers, J.) (Entered: 07/15/2024)
              07/16/2024    103 First RESPONSE RESPONSE TO DEFENDANT POLICE OFFICER KELSEY
                                MARSCHALL'S OBJECTIONS TO INTERROGATORIES AND REQUESTS FOR
                                PRODUCTION DATED JUNE 10, 2024 filed by ORane M. Cornish, Jr. (Cornish,
                                ORane) (Entered: 07/16/2024)
              07/22/2024    104 MOTION for Extension of Time until August 26, 2024 to respond to plaintiff's motion
                                for subpoena to compel production of evidence 100 and plaintiff's request for
                                subpoena in plaintiff's response to defendant Police Officer Kelsey Marshcall's
                                objections to interrogatories and requests for production [Doc. 103] 103 Response, 100
                                Response by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered: 07/22/2024)
              07/22/2024    105 Third MOTION to Appoint Counsel MOTION TO REQUEST ATTORNEY by ORane
                                M. Cornish, Jr. (Cornish, ORane) (Entered: 07/22/2024)
              07/22/2024    106 Third MOTION to Appoint Counsel MOTION TO REQUEST ATTORNEY
                                (CORRECTED) by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 07/22/2024)
              07/22/2024    107 First OBJECTION Objection to Defendants Motion for Extension of Time filed by
                                ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 07/22/2024)
              07/23/2024    108 ORDER granting over objection 104 Motion for Extension of Time. Defendants shall
                                respond to Plaintiff's motions at ECF No. 100 and ECF No. 103 on or before August
                                26, 2024. The Court notes it is not uncommon for the Court to expand the time period
                                contemplated under the Rules of Federal Civil Procedure to give all parties the
                                opportunity to adequately and appropriately address issues raised in a particular
                                motion.
                                Signed by Judge Kari A. Dooley on 7/23/2024. (Chambers, J.) (Entered: 07/23/2024)
              07/23/2024    109 ORDER finding as moot 105 Third Motion to Appoint Counsel in light of Plaintiff's
                                Corrected Motion; denying without prejudice 106 Corrected Third Motion to Appoint
                                Counsel for the reasons previously stated in ECF No. 24 given the early stage of this
                                case and because the record has not been sufficiently developed so as to require
                                reassessment of this issue.
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                                 Signed by Judge Kari A. Dooley on 7/23/2024. (Chambers, J.) (Entered: 07/23/2024)
              07/23/2024    110 First AFFIDAVIT PLAINTIFF'S MOTION TO ADDRESS PATTERN OF UNUSUAL
                                JUDGMENTS AND COURT PREJUDICE Signed By ORane M. Cornish Jr filed by
                                ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 07/23/2024)
              07/27/2024    111 First RESPONSE MOTION TO RECONSIDER APPOINTMENT OF COUNSEL filed
                                by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 07/27/2024)
              07/30/2024    112 ORDER denying 110 Motion to Address Pattern of Unusual Judgments; denying 111
                                Motion for Reconsideration. The Court construes Plaintiff's filing at ECF No. 110 as
                                seeking reconsideration of the Court's decision granting Defendants' Motion for
                                Extension of Time over his objection.

                                 "A motion for reconsideration is an extraordinary request that is granted only in rare
                                 circumstances, such as where the court failed to consider evidence or binding
                                 authority." Van Buskirk v. United Grp. of Companies, Inc., 935 F.3d 49, 54 (2d Cir.
                                 2019). "The standard for granting such a motion is strict, and reconsideration will
                                 generally be denied unless the moving party can point to controlling decisions or data
                                 that the court overlooked −− matters, in other words, that might reasonably be
                                 expected to alter the conclusion reached by the court." Id. (quoting Shrader v. CSX
                                 Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)). "If 'the moving party is seeking solely
                                 to relitigate an issue already decided,' the court should deny the motion for
                                 reconsideration and adhere to its prior decision." Collins v. Blumenthal, 581 F. Supp.
                                 2d 289, 290 (D. Conn. 2008) (quoting Shrader, 70 F.3d at 257) (alterations omitted);
                                 see also Young v. Choinski, 15 F. Supp. 3d 194, 197 (D. Conn. 2014) ("It is
                                 well−settled that a motion for reconsideration is 'not a vehicle for relitigating old
                                 issues, presenting the case under new theories, securing a rehearing on the merits, or
                                 otherwise taking a second bite at the apple.'") (quoting Analytical Surveys, Inc. v.
                                 Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012), as amended (July 13, 2012)
                                 (internal quotation marks omitted)).

                                 Plaintiff has not identified any controlling decisions or data that the Court overlooked
                                 in granting Defendants' Motion for Extension of Time or denying his Motion for
                                 Appointment of Counsel. Plaintiff merely seeks to relitigate issues already decided. As
                                 previously stated in ECF Nos. 24 & 109, given the early stage of this case, Plaintiff's
                                 assessment notwithstanding, the Court is unable to conclude that Plaintiff's claims are
                                 likely meritorious so as to warrant the appointment of counsel. Going forward,
                                 motions which seek to relitigate issues raised and decided shall be summarily denied if
                                 they do not meet the exacting standard set forth above.

                                 Signed by Judge Kari A. Dooley on 7/30/2024. (Chambers, J.) (Entered: 07/30/2024)
              07/30/2024    113 First AFFIDAVIT MOTION TO ADDRESS PATTERN OF BIAS AND UNFAIR
                                ADVANTAGE IN CASE PROCEEDINGS Signed By ORane M. Cornish Jr filed by
                                ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 07/30/2024)
              08/02/2024    114 First MOTION to Compel MOTION TO VACATE ORDER GRANTING EXTENSION
                                OF TIME TO DEFENDANTS by ORane M. Cornish, Jr.Responses due by 8/23/2024
                                (Cornish, ORane) (Entered: 08/02/2024)
              08/12/2024    115 ORDER denying 113 Motion to Address Pattern of Bias; denying 114 Motion to
                                Vacate for the reasons previously stated in ECF No. 112.
                                Signed by Judge Kari A. Dooley on 8/12/2024. (Chambers, J.) (Entered: 08/12/2024)
              08/12/2024    116 OBJECTION re 95 Amended Complaint (Objection to Plaintiff's Motion for Leave to
                                Amend Complaint) filed by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered:
                                08/12/2024)
              08/14/2024    117 First RESPONSE PLAINTIFFS RESPONSE TO DEFENDANTS OBJECTIONS TO
                                AMENDED COMPLAINT filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered:
                                08/14/2024)
              08/26/2024    118 MOTION to Quash Subpoena Duces Tecum by Lebreck, Kelsey Marschall.Responses
                                due by 9/16/2024 (Jakiela, Kristan) (Entered: 08/26/2024)
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              08/27/2024    119 Supplemental MOTION to Quash Subpoena Duces Tecum by Lebreck, Kelsey
                                Marschall.Responses due by 9/17/2024 (Attachments: # 1 Exhibit A)(Jakiela, Kristan)
                                (Entered: 08/27/2024)
              08/28/2024    120 MOTION to Stay re 52 Scheduling Order,,,,,,, by Lebreck, Kelsey
                                Marschall.Responses due by 9/18/2024 (Jakiela, Kristan) (Entered: 08/28/2024)
              08/28/2024    121 First RESPONSE PLAINTIFF'S OBJECTION AND RESPONSE TO DEFENDANT
                                OFFICER KELSEY MARSCHALL'S OBJECTIONS TO INTERROGATORIES AND
                                REQUESTS FOR PRODUCTION filed by ORane M. Cornish, Jr. (Cornish, ORane)
                                (Entered: 08/28/2024)
              08/28/2024    122 First RESPONSE PLAINTIFF'S OBJECTION AND RESPONSE TO DEFENDANT
                                OFFICER LABRECKS OBJECTIONS TO INTERROGATORIES AND REQUESTS
                                FOR PRODUCTION DATED JUNE 10, 2024 filed by ORane M. Cornish, Jr.
                                (Cornish, ORane) (Entered: 08/28/2024)
              08/29/2024    123 ORDER granting 118 Motion to Quash; granting 119 Supplemental Motion to Quash,
                                for the reasons previously articulated in ECF No. 55, namely, that Plaintiff may obtain
                                the information he seeks through the normal discovery process, not by issuing a
                                subpoena duces tecum upon Defendants. (See ECF No. 100 ). Nor will the Court take
                                up Plaintiff's objections to Defendants' responses to his discovery which he improperly
                                filed at 121 and 122 . Prior to seeking Court intervention through, for example, a
                                motion to compel, Plaintiff must in good faith confer or attempt to confer with
                                Defendants in an effort to resolve any potential discovery dispute without Court
                                intervention. See Fed. R. Civ. P. 37(a)(1). For avoidance of doubt, any discovery
                                motions filed absent certification that the parties have adequately met and conferred in
                                good faith will be summarily denied. See Fiore v. Univ. of Saint Joseph, No.
                                3:21−CV−1060 (AWT), 2023 WL 2473009, at *1 (D. Conn. Mar. 13, 2023)
                                (acknowledging that a failure to meet and confer "can and often does justify a court's
                                decision to deny a [discovery motion]"). Signed by Judge Kari A. Dooley on August
                                29, 2024. (Spears, Andrew) (Entered: 08/29/2024)
              09/05/2024    124 First MOTION to Compel PLAINTIFFS MOTION TO COMPEL DISCOVERY
                                PRODUCTION by ORane M. Cornish, Jr.Responses due by 9/26/2024 (Cornish,
                                ORane) (Entered: 09/05/2024)
              09/06/2024    125 ORDER denying 124 Motion to Compel for the reasons previously articulated (see
                                ECF No. 123 ("any discovery motions filed absent certification that the parties have
                                adequately met and conferred in good faith will be summarily denied.")). Signed by
                                Judge Kari A. Dooley on September 6, 2024. (Spears, Andrew) (Entered: 09/06/2024)
              09/08/2024    126 First MOTION to Compel CERTIFICATION OF GOOD FAITH EFFORTS TO
                                RESOLVE DISCOVERY DISPUTES by ORane M. Cornish, Jr.Responses due by
                                9/29/2024 (Cornish, ORane) (Entered: 09/08/2024)
              09/08/2024    127 Third MOTION to Compel MOTION TO COMPEL DISCOVERY by ORane M.
                                Cornish, Jr.Responses due by 9/29/2024 (Cornish, ORane) (Entered: 09/08/2024)
              09/12/2024    128 ORDER re: 95 Amended Complaint. See attached. Signed by Judge Kari A. Dooley on
                                September 12, 2024. (Spears, Andrew) (Entered: 09/12/2024)
              09/12/2024    129 First MOTION for Reconsideration PLAINTIFF'S OBJECTION TO THE COURT'S
                                ORDER DATED SEPTEMBER 12, 2024, AND MOTION FOR RECONSIDERATION
                                by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 09/12/2024)
              09/16/2024    130 First RESPONSE PLAINTIFFS OBJECTION TO DEFENDANTS MOTION TO
                                DISMISS filed by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 09/16/2024)
              09/17/2024    131 ORDER: Plaintiff has filed what purports to be an objection to Defendant's Motion to
                                Dismiss, but which appears to have been filed in the wrong case insofar as it pertains
                                to Case No. 3:24−cv−875 (SVN). See ECF No. 130. Accordingly, the Court shall take
                                no action on this submission in this case. Signed by Judge Kari A. Dooley on
                                September 17, 2024. (Spears, Andrew) (Entered: 09/17/2024)
              09/19/2024    132 ORDER denying 120 Motion to Stay Discovery. Generally, it is not the practice of this
                                Court to stay discovery upon the filing of a motion to dismiss. See, e.g., Kollar v.
                                Allstate Ins. Co., No. 3:16−CV−01927 (VAB), 2017 WL 10992213, at *1 (D. Conn.
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                                  Nov. 6, 2017) ("[T]his Court's regular practice normally requires the parties to
                                  commence discovery, even while a motion to dismiss is pending"); see also, e.g.,
                                  Republic of Turkey v. Christie's, Inc., 316 F. Supp. 3d 675, 677 (S.D.N.Y. 2018)
                                  ("Discovery should not be routinely stayed simply on the basis that a motion to dismiss
                                  has been filed") (quotation marks omitted); Moss v. Hollis, No. CIV. B−90−177
                                  (PCD), 1990 WL 138531, at *1 (D. Conn. June 29, 1990) ("Had the Federal Rules
                                  contemplated that a motion to dismiss under Fed. R. Civ. P. 12(b)(6) would stay
                                  discovery, they would contain such a provision."). Indeed, the Court's Standing Order
                                  on Pretrial Deadlines states that "[t]he filing of a motion to dismiss shall not result in a
                                  stay of discovery or extend the time for completing discovery." ECF No. 4.
                                  Nonetheless, "[i]n determining whether good cause exists for a stay of discovery"
                                  while a potentially dispositive motion is pending, this Court considers three factors:
                                  "(1) the strength of the dispositive motion; (2) the breadth of the discovery sought; and
                                  (3) the prejudice a stay would have on the non−moving party." Lithgow v. Edelmann,
                                  247 F.R.D. 61, 62 (D. Conn. 2007). In evaluating the first factor, "courts will look to
                                  see whether there are 'substantial arguments for dismissal,' or, stated differently,
                                  whether 'there has been a strong showing that the plaintiff's claim is' without merit."
                                  Stanley Works Israel Ltd. v. 500 Grp., Inc., No. 3:17−CV−1765 (CSH), 2018 WL
                                  1960112, at *3 (D. Conn. Apr. 26, 2018). In assessing the second factor, the Court
                                  may consider the burden of responding to discovery. See, e.g., Country Club of
                                  Fairfield, Inc. v. New Hampshire Ins. Co., No. 3:13−CV−00509 (VLB), 2014 WL
                                  3895923, at *3 (D. Conn. Aug. 8, 2014).

                                  Defendants' Motion to Dismiss primarily argues that Plaintiff's false arrest claim
                                  should be dismissed because it fails to sufficiently allege that Defendants lacked
                                  probable cause to effectuate Plaintiff's arrest on the basis of a witness statement. ECF
                                  No. 58. Defendants also contend that Plaintiff's claim is time−barred. See id. However,
                                  Magistrate Judge Spector's Recommended Rulings−−which this Court has explicitly
                                  adopted−−did not find Plaintiff's false arrest claim to be untimely, and further found
                                  that Plaintiff plausibly alleged that Officer Marschall lacked probable cause to arrest
                                  Plaintiff on the basis of a witness statement. See ECF Nos. 12, 15, 18. Accordingly,
                                  and without yet resolving these or any other issues raised in the Motion to Dismiss, the
                                  Court concludes that Plaintiff's claims are not so clearly without merit as to warrant a
                                  finding that this factor favors a stay of discovery. The breadth of discovery sought also
                                  does not weigh in favor of a stay, insofar as the scope of the discovery sought by
                                  Plaintiff does not appear to be overly burdensome, and Defendants have already
                                  objected to the production of certain materials that they consider irrelevant and/or
                                  disproportionate. See ECF Nos. 93, 126. Plaintiff's resulting Motion to Compel
                                  remains pending, and will be taken up in due course. See ECF No. 127. While the
                                  Court is not convinced that Plaintiff will suffer great prejudice from the requested stay,
                                  it nonetheless concludes that, on balance, the relevant factors weigh against a stay of
                                  discovery in this case. Accordingly, Defendants' Motion to Stay Discovery is
                                  DENIED. Signed by Judge Kari A. Dooley on September 19, 2024. (Spears, Andrew)
                                  (Entered: 09/19/2024)
              09/20/2024    133 ORDER denying 129 Motion for Reconsideration. "A motion for reconsideration is an
                                extraordinary request that is granted only in rare circumstances, such as where the
                                court failed to consider evidence or binding authority." Van Buskirk v. United Grp. of
                                Companies, Inc., 935 F.3d 49, 54 (2d Cir. 2019). "The standard for granting such a
                                motion is strict, and reconsideration will generally be denied unless the moving party
                                can point to controlling decisions or data that the court overlooked−−matters, in other
                                words, that might reasonably be expected to alter the conclusion reached by the court."
                                Id. (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)). "If 'the
                                moving party is seeking solely to relitigate an issue already decided,' the court should
                                deny the motion for reconsideration and adhere to its prior decision." Collins v.
                                Blumenthal, 581 F. Supp. 2d 289, 290 (D. Conn. 2008) (quoting Shrader, 70 F.3d at
                                257) (alterations omitted); see also Young v. Choinski, 15 F. Supp. 3d 194, 197 (D.
                                Conn. 2014) ("It is well−settled that a motion for reconsideration is 'not a vehicle for
                                relitigating old issues, presenting the case under new theories, securing a rehearing on
                                the merits, or otherwise taking a second bite at the apple.'") (quoting Analytical
                                Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012), as amended
                                (July 13, 2012) (internal quotation marks omitted)).

                                  Plaintiff first argues that the Court erroneously declined to permit the Proposed SAC
                                  "based solely on procedural grounds," and otherwise should have afforded Plaintiff
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                                 greater leeway as a pro se litigant. However, the Court did in fact consider the
                                 "substantive merits of the amendments," and concluded that the new allegations set
                                 forth against Officer Downs and Officer O'Bright would not survive a motion to
                                 dismiss. See ECF No. 128 at 5 n.2. The Court also explicitly acknowledged Plaintiff's
                                 status as a pro se litigant while emphasizing his repeated failure to comply with the
                                 Federal Rules of Civil Procedure and the Court's explicit instructions, and ultimately
                                 determining that "a court's special solicitude towards pro se litigants does not extend to
                                 the willful, obstinate refusal to play by the basic rules of the system upon whose very
                                 power the plaintiff is calling to vindicate his rights." See id. at 34 (citing Brady v.
                                 Goldman, No. 16−CV−2287 (GBD) (SN), 2017 WL 486258, at *3 (S.D.N.Y. Jan. 10,
                                 2017)). Plaintiff further insists that the Court's dismissal of Chief Hammick and the
                                 Town of Bloomfield was premature and in violation of his due process rights, but in
                                 doing so, he ignores that this Court dismissed those defendants with prejudice over
                                 seven months ago, and his time to seek reconsideration of that particular order has long
                                 since passed. See Local R. Civ. P. 7(c) ("[Motions for reconsideration] shall be filed
                                 and served within seven (7) days of the filing of the decision or order from which such
                                 relief is sought..."). In general, Plaintiff does not point to controlling decisions or data
                                 that the court overlooked, and otherwise seeks to relitigate issues already decided.
                                 Accordingly, the Motion for Reconsideration is DENIED. Signed by Judge Kari A.
                                 Dooley on September 20, 2024. (Spears, Andrew) (Entered: 09/20/2024)
              09/21/2024    134 First MOTION to Amend/Correct PLAINTIFFS MOTION TO REINFORCE
                                DEFENDANT LIABILITY AND COLLUSION BETWEEN OFFICER DOWNS AND
                                KELSEY MARSHALL AND REQUEST TO AMEND COMPLAINT by ORane M.
                                Cornish, Jr.Responses due by 10/12/2024 (Cornish, ORane) (Entered: 09/21/2024)
              09/23/2024    135 ORDER REFERRING CASE to Magistrate Judge Robert M. Spector for a ruling on
                                127 Third MOTION to Compel MOTION TO COMPEL DISCOVERY.
                                Signed by Judge Kari A. Dooley on 9/23/2024. Motion referred to Magistrate Judge
                                Robert M. Spector. (Gould, K) (Entered: 09/23/2024)
              09/23/2024    136 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. A Discovery
                                Conference is set for 10/01/2024 at 02:30 PM before Judge Robert M. Spector.
                                NOTICE regarding hearing via Zoom: The Discovery Conference scheduled for
                                10/01/2024 at 2:30 PM will be conducted via Zoom.

                                 The parties should be prepared to discuss whether any of the issues can be
                                 resolved and/or whether briefing should be scheduled.

                                 Call−in and Public Access Number: +1 646 828 7666

                                 Meeting ID: 160 100 6606

                                 Meeting Password: 407774

                                 The Court will distribute the video link to the parties via email.

                                 Please note: Members of the public are permitted to join this hearing by audio
                                 only using the public access number above. Video participation is permitted by
                                 the parties and counsel only. This is in accordance with the remote access policies of
                                 the Judicial Conference of the United States, which governs the practices of the federal
                                 courts. All persons granted remote access to proceedings are reminded of the general
                                 prohibition against photographing, recording, screenshots, streaming, and
                                 rebroadcasting in any form, of court proceedings. Violation of these prohibitions may
                                 result in sanctions, including restricted entry to future hearings, denial of entry to
                                 future hearings, or any other sanctions deemed necessary by the court. (Lee, Elisabeth)
                                 (Entered: 09/23/2024)
              09/24/2024    137 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. RESET FROM 2:30
                                PM to 3:00 PM. The Discovery Conference via Zoom is now set for 10/1/2024 at
                                03:00 PM before Judge Robert M. Spector. The Zoom access information listed in
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                                 NEF #136 remains the same. (Langello, N) (Entered: 09/24/2024)
              09/27/2024    138 First MOTION to Amend/Correct PLAINTIFFS RESPONSE TO DEFENDANTS'
                                OBJECTION TO PLAINTIFFS MOTION FOR DEFAULT JUDGMENT by ORane M.
                                Cornish, Jr.Responses due by 10/18/2024 (Cornish, ORane) (Entered: 09/27/2024)
              09/27/2024    139 OBJECTION re 127 Third MOTION to Compel MOTION TO COMPEL
                                DISCOVERY, 126 First MOTION to Compel CERTIFICATION OF GOOD FAITH
                                EFFORTS TO RESOLVE DISCOVERY DISPUTES (Objections to Motions to Compel
                                Compliance) filed by Lebreck, Kelsey Marschall. (Attachments: # 1 Exhibit
                                A)(Jakiela, Kristan) (Entered: 09/27/2024)
              10/01/2024    140 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. The plaintiff did not
                                appear at today's Zoom Discovery Conference. Accordingly, the Court schedules a
                                telephonic Discovery Conference for 10/10/2024 at 09:30 AM before Judge Robert
                                M. Spector. The plaintiff is ordered to appear. Please use the following dial−in for
                                this call: (877) 873−8017; Access Code: 7040261. (Lee, Elisabeth) (Entered:
                                10/01/2024)
              10/01/2024    141 Minute Entry for proceedings held before Judge Robert M. Spector: Discovery
                                Conference held on 10/1/2024. The plaintiff did not join the Zoom. 4 minutes (Court
                                Reporter CourtSmart.) (Langello, N) (Entered: 10/01/2024)
              10/01/2024    142 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. RESET FROM
                                10/10/2024 at 9:30 AM. The plaintiff did not appear at today's Zoom Discovery
                                Conference. The Court scheduled a telephonic Discovery Conference for 10/10/2024
                                at 09:30 AM but was subsequently informed that the plaintiff has a conflict. The
                                telephonic Discovery Conference is now rescheduled to 10/10/2024 at 02:30 PM. The
                                plaintiff is ordered to appear. Please use the following dial−in for this call: (877)
                                873−8017; Access Code: 7040261. (Lee, Elisabeth) (Entered: 10/01/2024)
              10/10/2024    143 Minute Entry for proceedings held before Judge Robert M. Spector: Telephonic
                                Discovery Conference held on 10/10/2024. 25 minutes (Court Reporter CourtSmart.)
                                (Langello, N) (Entered: 10/10/2024)
              10/11/2024    144 ORDER granting in part and denying in part 127 Third MOTION to Compel MOTION
                                TO COMPEL DISCOVERY. During today's discovery conference, all five issues raised
                                in the plaintiff's Motion were discussed. The Court did not address the defendant's
                                additional objections that were not the subject of the Motion.

                                 Issue 1: The plaintiff requests body camera footage from September 22, 2020. The
                                 defendant stated that it has produced body camera footage from Sergeant Downs,
                                 which is the only footage available. The defendant clarified that it is not in possession
                                 of video footage from the lobby. As discussed during the conference, the Court
                                 ORDERS the defendant to produce all videotape footage from September 22, 2020, as
                                 it is relevant and proportional to this false arrest case. To the extent the defendant later
                                 identifies responsive footage that it has not yet produced, it shall immediately produce
                                 the discovery to the plaintiff.

                                 Issue 2: The plaintiff seeks cruiser and body camera footage from December 20, 2020,
                                 regarding an incident between the plaintiff and Defendant Marschall. The Court
                                 ORDERS the defendant to produce responsive footage on or before November 11,
                                 2024.

                                 Issue 3: The plaintiff seeks Sergeant Downs' and Defendant Marschall's disciplinary
                                 records. The defendant clarified that there have been no internal investigations
                                 concerning any similar allegations of misconduct lodged by other individuals, i.e.,
                                 "inadequate police investigations, racial profiling, excessive force and/or false arrest."
                                 (Doc. No. 139 at 3). As discussed during the conference, the Court ORDERS the
                                 defendant to disclose disciplinary actions, reprimands, and/or findings of
                                 untruthfulness regarding these individuals on or before November 11, 2024.
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                                 Issue 4: As clarified during the discovery conference, this issue is MOOT insofar as
                                 the defendant represents the date of the audio recording identified in the file name is
                                 the accurate date.

                                 Issue 5: The plaintiff seeks the victim call from September 22, 2020, as well as the
                                 body camera footage of all conversations surrounding the complaint. While the
                                 defendant withheld this discovery based on privilege, it conceded that the complainant
                                 statement, family violence offense report, and 911 (and/or complainant) call −− as
                                 identified on the privilege log −− would likely be introduced as evidence in a trial.
                                 Furthermore, it is undisputed that the plaintiff knows the identities of the person
                                 making the 911 (and/or complainant) call and person(s) giving statements to the
                                 police. The parties agreed that such discovery is subject to the Standing Protective
                                 Order, and the plaintiff agreed to return or destroy the evidence when the case
                                 concludes. Accordingly, the Court ORDERS the defendant to disclose the complainant
                                 statement, family violence offense report, and 911 (and/or complainant) call on or
                                 before November 11, 2024. The Court permits the defendant to redact individuals'
                                 identities in the complainant statement and family violence offense report. Signed by
                                 Judge Robert M. Spector on 10/11/2024. (Lee, Elisabeth) Modified to link to the
                                 correct motion on 10/15/2024 (Langello, N). (Entered: 10/11/2024)
              10/15/2024         Docket Entry Correction re 144 Order on Motion to Compel. The order was modified
                                 to correctly link it to Motion 127 . (Langello, N) (Entered: 10/15/2024)
              10/15/2024    145 ORDER finding as moot 126 Motion to Compel CERTIFICATION OF GOOD
                                FAITH EFFORTS TO RESOLVE DISCOVERY DISPUTES, in light of the 144
                                Order granting in part and denying in part Plaintiff's 127 Motion to Compel. Signed by
                                Judge Kari A. Dooley on October 15, 2024. (Spears, A.) (Entered: 10/15/2024)
              10/17/2024    146 OBJECTION re 134 First MOTION to Amend/Correct PLAINTIFFS MOTION TO
                                REINFORCE DEFENDANT LIABILITY AND COLLUSION BETWEEN OFFICER
                                DOWNS AND KELSEY MARSHALL AND REQUEST TO AMEND COMPLAINT filed
                                by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered: 10/17/2024)
              10/17/2024    147 MOTION for Extension of Time until November 21, 2024 to respond to plaintiff's
                                second set of interrogatories and request for production of documents to the defendants
                                by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered: 10/17/2024)
              10/18/2024    148 OBJECTION re 138 First MOTION to Amend/Correct PLAINTIFFS RESPONSE TO
                                DEFENDANTS' OBJECTION TO PLAINTIFFS MOTION FOR DEFAULT
                                JUDGMENT (Objection to Plaintiff's Motion to Re−Add the Town of Bloomfield as
                                Defendant) filed by Lebreck, Kelsey Marschall. (Jakiela, Kristan) (Entered:
                                10/18/2024)
              10/18/2024    149 ORDER granting 147 MOTION for Extension of Time until November 21, 2024 to
                                respond to plaintiff's second set of interrogatories and request for production of
                                documents to the defendants for good cause shown. See D. Conn. L. Civ. R. 7(b). The
                                discovery deadline remains April 26, 2025, and all discovery must still be completed
                                by that date. (Doc. No. 52). Signed by Judge Robert M. Spector on 10/18/2024. (Lee,
                                Elisabeth) (Entered: 10/18/2024)
              10/27/2024    150 First RESPONSE PLAINTIFFS RESPONSE TO DEFENDANTS OBJECTION TO
                                MOTION TO REINFORCE DEFENDANT LIABILITY AND COLLUSION BETWEEN
                                OFFICER DOWNS AND KELSEY MARSHALL AND REQUEST TO AMEND
                                COMPLAINT filed by ORane M. Cornish, Jr. (Cornish, ORane) Modified on
                                10/29/2024 to correct event type. (Fanelle, N.) (Entered: 10/27/2024)
              10/27/2024    151 First MOTION to Compel EMERGENCY MOTION FOR IMMEDIATE HOUSING
                                ACCOMMODATIONS by ORane M. Cornish, Jr.Responses due by 11/17/2024
                                (Cornish, ORane) (Entered: 10/27/2024)
              10/29/2024    152 ORDER: On October 27, 2024, Plaintiff filed what purports to be a reply brief in
                                further support of his 134 Motion to Amend. See ECF No. 150. Plaintiff's Motion to
                                Amend will be taken up by the Court in due course. However, to the extent Plaintiff's
                                submission also seeks relief pursuant to Fed. R. Civ. P. 37(b)(2)(A) arising out of
                                Defendants' purported failure to comply with Magistrate Judge Spector's discovery
                                order, see ECF No. 144, the submission will be referred to Judge Spector for
                                resolution. Signed by Judge Kari A. Dooley on October 29, 2024. (Spears, A)
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                                  (Entered: 10/29/2024)
              10/29/2024    153 ORDER REFERRING CASE to Magistrate Judge Robert M. Spector for a ruling as to
                                the discovery dispute raised by Plaintiff in the 150 Response
                                Signed by Judge Kari A. Dooley on 10/29/2024. Motion referred, in part, to Magistrate
                                Judge Robert M. Spector.(Gould, K) (Entered: 10/29/2024)
              10/29/2024    154 ORDER denying 151 Motion to Compel. Plaintiff seeks an order compelling the Town
                                of Bloomfield to provide him "with housing for the duration of this litigation," insofar
                                as Defendants' alleged misconduct caused Plaintiff to be homeless. The Court
                                construes Plaintiff's Motion to Compel as a request for affirmative injunctive relief,
                                and for the reasons set forth herein, the Motion is DENIED.

                                  "Issuance of preliminary injunctive relief, such as a TRO or preliminary injunction, is
                                  an 'extraordinary and drastic remedy, one that should not be granted unless the
                                  movant, by a clear showing, carries the burden of persuasion.'" Merrill Lynch, Pierce,
                                  Fenner & Smith, Inc. v. Reidy, 477 F. Supp. 2d 472, 474 (D. Conn. 2007) (quoting
                                  Moore v. Consol. Edison Co. of N.Y., Inc., 409 F.3d 506, 510 (2d Cir. 2005)). "The
                                  purpose of a temporary restraining order is to preserve an existing situation in status
                                  quo until the court has an opportunity to pass upon the merits of the demand for a
                                  preliminary injunction." Maxum Petroleum, Inc. v. Hiatt, No. 3:16−CV−1615 (VLB),
                                  2016 WL 5496283, at *1 (D. Conn. Sept. 28, 2016) (quoting Garcia v. Yonkers Sch.
                                  Dist., 561 F.3d 97, 107 (2d Cir. 2009)). The moving party must "establish '(1) either
                                  (a) a likelihood of success on the merits or (b) sufficiently serious questions going to
                                  the merits to make them a fair ground for litigation and a balance of hardships tipping
                                  decidedly in the movant's favor, and (2) irreparable harm in the absence of the
                                  injunction.'" Kelly v. Honeywell Int'l, Inc., 933 F.3d 173, 18384 (2d Cir. 2019)
                                  (quoting Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 116 (2d Cir.
                                  2009)). However, "when the injunction sought 'will alter rather than maintain the
                                  status quo' the movant must show 'clear' or 'substantial' likelihood of success." No
                                  Spray Coal., Inc. v. City of New York, 252 F.3d 148, 150 (2d Cir. 2001) (per curiam).

                                  Here, Plaintiff seeks not to preserve the status quo but instead seeks a mandatory
                                  injunction. He has not demonstrated entitlement to the relief he seeks. First, Plaintiff's
                                  assertions as to both irreparable harm and the likelihood of success on the merits are
                                  wholly conclusory and otherwise insufficient to meet the rigorous requirements for
                                  obtaining injunctive relief. See, e.g., PA Realty Grp., LLC v. Hornbeck, No.
                                  3:16−CV−630 (VLB), 2016 WL 2944155, at **1−2 (D. Conn. May 20, 2016)
                                  (denying request for preliminary relief where supporting declarations were conclusory
                                  in nature and the risk of injury speculative). Moreover, and perhaps dispositive on the
                                  issue, Plaintiff seeks an injunction against the Town of Bloomfield, which is no longer
                                  a party to this litigation having been dismissed as a Defendant. See ECF Nos. 12, 18. It
                                  is axiomatic that the Court cannot enjoin non−parties to the litigation. See Cooke v.
                                  Kenny, No. 3:21−CV−1244 (SALM), 2022 WL 168787, at *3 (D. Conn. Jan. 19,
                                  2022) ("Inasmuch as Plaintiff seeks injunctive relief against a non−party, such relief is
                                  not available.") (citation omitted).
                                  For all of these reasons, the Motion to Compel is DENIED. It is so ordered. Signed by
                                  Judge Kari A. Dooley on October 29, 2024. (Spears, A) (Entered: 10/29/2024)
              10/29/2024    155 ORDER: In the 150 First RESPONSE PLAINTIFFS RESPONSE TO DEFENDANTS
                                OBJECTION TO MOTION TO REINFORCE DEFENDANT LIABILITY AND
                                COLLUSION BETWEEN OFFICER DOWNS AND KELSEY MARSHALL AND
                                REQUEST TO AMEND COMPLAINT, the plaintiff states that the defendants still have
                                not complied with the Court's Order (Doc. No. 144). To the extent there is confusion,
                                the Court summarizes its Order (Doc. No. 144) herein. With respect to Issue 1, defense
                                counsel represented during the discovery hearing on October 10, 2024, that the
                                defendants are not in possession of responsive document. If the defendants later
                                discover responsive documents, they shall immediately produce them pursuant to the
                                Court's Order (Doc. No. 144). For Issues 2, 3 and 5, the Court reiterates that the
                                defendants' deadline to produce responsive documents is November 11, 2024. In other
                                words, the plaintiff's assertion that the defendants' are non−compliant is premature.
                                Issue 4 is moot. Once the deadline passes on November 11, 2024, the plaintiff may file
                                a Status Report indicating whether the defendants' production satisfies the Court's
                                Order. If he believes the production is not compliant, he shall list each Issue and
                                explain why he believes the defendants are in violation of the Court's Order (Doc. No.
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                                  144). Accordingly, the discovery dispute raised in Doc. No. 150 is DENIED as
                                  premature. Signed by Judge Robert M. Spector on 10/29/2024. (Lee, Elisabeth)
                                  (Entered: 10/29/2024)
              11/06/2024    156 ORDER denying 134 , 138 Motions to Amend. On September 12, 2024, the Court
                                entered an order declining to accept Plaintiff's Proposed Second Amended Complaint
                                (ECF No. 95), and instructing that this case will proceed with the 14 Amended
                                Complaint as its operative pleading. See ECF No. 128. The Court rejected the
                                Proposed SAC due to, inter alia, Plaintiff's repeated failure to comply with the Federal
                                Rules of Civil Procedure and the Court's explicit instructions regarding filing a proper
                                motion to amend. See id. Thereafter, on September 21, 2024 and September 27, 2024,
                                Plaintiff submitted two filings which purport to seek leave to amend. ECF Nos. 134,
                                138. Plaintiff's 134 Motion to Amend seeks to "reinforce the liability of Officer
                                Downs," and reinstate Officer Downs as a Defendant. Plaintiff's 138 Motion to Amend
                                seeks to reinstate Chief Hammick and the Town of Bloomfield as Defendants, based
                                on "new video evidence" and a recording made by Plaintiff of a conversation he had
                                with Sergeant Thomas on September 26, 2024 regarding his various state Freedom of
                                Information ("FOI") requests. As with Plaintiff's numerous prior efforts to amend,
                                these motions likewise fail to comply with the Federal Rules of Civil Procedure and
                                the Court's explicit instructions regarding filing a proper motion to amend. For that
                                reason alone, the Court denies Plaintiff's 134 and 138 Motions to Amend.
                                Nevertheless, the Court observes that it has twice previously rejected Plaintiff's efforts
                                to add Officer Downs as a Defendant, see ECF Nos. 75, 128, and has dismissed Chief
                                Hammick and the Town of Bloomfield from this case with prejudice, see ECF No. 18.
                                The Court thereafter denied Plaintiff's Motion for Reconsideration of the Court's 95
                                Order, in part because Plaintiff merely sought to relitigate issues already decided. See
                                ECF No. 133. The same is true of Plaintiff's latest efforts to amend. Indeed, to permit
                                further amendment now would be to ensure duplicative and unnecessary litigation.
                                Moreover, to the extent Plaintiff seeks to add a state FOI claim, any such amendment
                                would be futile because: (a) it arises under Connecticut state law and is therefore not
                                cognizable under Section 1983; and (b) any denial Plaintiff's FOI request(s) does not
                                implicate his Fourteenth Amendment due process rights cognizable in a Section 1983
                                action. See Jones v. Hakins, No. 3:19−CV−221 (VAB), 2020 WL 509856, at *3 (D.
                                Conn. Jan. 31, 2020) ("Violations of state law... are not cognizable under Section
                                1983."); Abreu v. Farley, No. 11−CV−06251 (EAW), 2019 WL 1230778, at *7 n.6
                                (W.D.N.Y. Mar. 15, 2019) (finding no cognizable Fourteenth Amendment claim
                                where state remedies were available for a state freedom of information claim). For all
                                of these reasons, Plaintiff's Motions to Amend are DENIED. It is so ordered. Signed
                                by Judge Kari A. Dooley on November 6, 2024. (Spears, A) (Entered: 11/06/2024)
              11/06/2024    157 ORDER granting in part and denying in part 58 Motion to Dismiss. See attached. The
                                Clerk of the Court is directed to terminate Officer LaBreck as a Defendant. Signed by
                                Judge Kari A. Dooley on November 6, 2024. (Spears, A) (Entered: 11/06/2024)
              11/06/2024    158 First AFFIDAVIT AFFIDAVIT IN SUPPORT OF MOTION FOR RECUSAL,
                                OVERSIGHT, AND INVESTIGATION INTO JUDGE KARI A. DOOLEYS
                                IMPARTIALITY AND CONDUCT Signed By ORane M. Cornish Jr filed by ORane M.
                                Cornish, Jr. (Cornish, ORane) (Entered: 11/06/2024)
              11/06/2024    159 First MOTION to Transfer/Disqualify/Recuse Judge PLAINTIFFS MOTION FOR
                                REVIEW OF JUDGE KARI A. DOOLEYS ORDERS, RECUSAL, AND
                                INVESTIGATION INTO POTENTIAL JUDICIAL BIAS by ORane M. Cornish, Jr.
                                (Cornish, ORane) (Entered: 11/06/2024)
              11/06/2024    160 First MOTION to Vacate MOTION TO VACATE ORDERS 156 AND 157 DUE TO
                                MISAPPLICATION OF LAW AND BIAS AGAINST PLAINTIFF by ORane M.
                                Cornish, Jr. (Cornish, ORane) (Entered: 11/06/2024)
              11/06/2024    161 First MOTION for Reconsideration Motion to Revoke Denial of FOI Evidence and
                                Reinforce Federal Jurisdiction in 42 U.S.C. § 1983 Case by ORane M. Cornish, Jr.
                                (Cornish, ORane) (Entered: 11/06/2024)
              11/07/2024    162 First MOTION to Transfer/Disqualify/Recuse Judge MOTION FOR
                                DISQUALIFICATION OF JUDGE KARI DOOLEY, SECOND CIRCUIT REVIEW
                                AND REQUEST TO ADD HER AS A DEFENDANT BASED ON ALLEGATIONS OF
                                BIAS, OBSTRUCTION, MISINFORMATION, AND VIOLATIONS OF FEDERAL LAW
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                                 by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 11/07/2024)
              11/07/2024    163 First MOTION to Vacate MOTION TO VACATE ORDERS 156 AND 157 ISSUED BY
                                JUDGE KARI A. DOOLEY FOR OBSTRUCTION OF DISCOVERY by ORane M.
                                Cornish, Jr. (Cornish, ORane) (Entered: 11/07/2024)
              11/08/2024    164 First MOTION to Amend/Correct PLAINTIFF'S MOTION TO REFILE COMPLAINT
                                WITH NEWLY DISCOVERED EVIDENCE AND TO REASSIGN THE CASE TO A
                                NEW JUDGE DUE TO JUDICIAL INTERFERENCE by ORane M. Cornish,
                                Jr.Responses due by 11/29/2024 (Cornish, ORane) (Entered: 11/08/2024)
              11/10/2024    165 First MOTION for Sanctions PLAINTIFFS MOTION TO BRING TO COURTS
                                ATTENTION EVIDENCE OF POTENTIAL BIAS AND EX PARTE
                                COMMUNICATIONS BETWEEN DEFENDANTS AND PRESIDING JUDGE KARI A.
                                DOOLEY by ORane M. Cornish, Jr.Responses due by 12/1/2024 (Attachments: # 1
                                Exhibit PLAINTIFFS RESPONSE TO OFFICER KELSEY MARSCHALLS
                                OBJECTIONS TO INTERROGATORIES TOOFFICER KELSEY MARSCHALL
                                DATED OCTOBER 6, 2024, # 2 Exhibit OFFICER KELSEY MARSCHALLS
                                OBJECTIONS TO INTERROGATORIES TO OFFICER KELSEY MARSCHALL
                                DATED OCTOBER 6, 2024)(Cornish, ORane) (Entered: 11/10/2024)
              11/15/2024    166 First MOTION for Clarification MOTION FOR CLARIFICATION, EVIDENTIARY
                                DISCLOSURE, AND REQUEST FOR SANCTIONS AND ADVERSE INFERENCE by
                                ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 11/15/2024)
              12/02/2024    167 OBJECTION re 164 First MOTION to Amend/Correct PLAINTIFF'S MOTION TO
                                REFILE COMPLAINT WITH NEWLY DISCOVERED EVIDENCE AND TO
                                REASSIGN THE CASE TO A NEW JUDGE DUE TO JUDICIAL INTERFERENCE,
                                166 First MOTION for Clarification MOTION FOR CLARIFICATION,
                                EVIDENTIARY DISCLOSURE, AND REQUEST FOR SANCTIONS AND ADVERSE
                                INFERENCE, 165 First MOTION for Sanctions PLAINTIFFS MOTION TO BRING
                                TO COURTS ATTENTION EVIDENCE OF POTENTIAL BIAS AND EX PARTE
                                COMMUNICATIONS BETWEEN DEFENDANTS AND PRESIDING JUDGE KARI A.
                                DOOLEY (Objections to Plaintiff's Motions to Amend Complaint and Impose
                                Sanctions) filed by Kelsey Marschall. (Jakiela, Kristan) (Entered: 12/02/2024)
              12/03/2024    168 First MOTION to Compel PLAINTIFFS MOTION IN OPPOSITION TO SANCTIONS
                                AGAINST PLAINTIFF AND IN SUPPORT OF DEFAULT JUDGMENT AGAINST
                                DEFENDANTS by ORane M. Cornish, Jr.Responses due by 12/24/2024 (Cornish,
                                ORane) (Entered: 12/03/2024)
              12/04/2024    169 ORDER REFERRING CASE to Magistrate Judge Robert M. Spector for for a ruling
                                on the discovery dispute and related request for sanctions raised by Plaintiff in 168
                                First MOTION to Compel PLAINTIFFS MOTION IN OPPOSITION TO SANCTIONS
                                AGAINST PLAINTIFF AND IN SUPPORT OF DEFAULT JUDGMENT AGAINST
                                DEFENDANTS.
                                Signed by Judge Kari A. Dooley on 12/4/2024. Motion referred to Magistrate Judge
                                Robert M. Spector.(Gould, K) (Entered: 12/04/2024)
              12/05/2024    170 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. A Discovery
                                Conference is set for 12/17/2024 at 02:00 PM before Judge Robert M. Spector.
                                NOTICE regarding hearing via Zoom: The Discovery Conference scheduled for
                                12/12/2024 at 2:00 PM will be conducted via Zoom.

                                 The defendant may but is not required to file an opposition in advance of the
                                 hearing. To the extent that the defendant files an opposition, it should be
                                 docketed on or before December 13, 2024.

                                 Call−in and Public Access Number: +1 646 828 7666

                                 Meeting ID: 160 209 8670

                                 Meeting Password: 054781
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                                  The Court will distribute the video link to the parties via email.

                                  Please note: Members of the public are permitted to join this hearing by audio
                                  only using the public access number above. Video participation is permitted by
                                  the parties and counsel only. This is in accordance with the remote access policies of
                                  the Judicial Conference of the United States, which governs the practices of the federal
                                  courts. All persons granted remote access to proceedings are reminded of the general
                                  prohibition against photographing, recording, screenshots, streaming, and
                                  rebroadcasting in any form, of court proceedings. Violation of these prohibitions may
                                  result in sanctions, including restricted entry to future hearings, denial of entry to
                                  future hearings, or any other sanctions deemed necessary by the court. (Lee, Elisabeth)
                                  (Entered: 12/05/2024)
              12/10/2024    171 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. RESET from
                                12/12/2024 (typo). A Discovery Conference is set for 12/17/2024 at 02:00 PM before
                                Judge Robert M. Spector. NOTICE regarding hearing via Zoom: The Discovery
                                Conference scheduled for 12/17/2024 at 2:00 PM will be conducted via Zoom.

                                  The defendant may but is not required to file an opposition in advance of the
                                  hearing. To the extent that the defendant files an opposition, it should be
                                  docketed on or before December 13, 2024.

                                  Call−in and Public Access Number: +1 646 828 7666

                                  Meeting ID: 160 209 8670

                                  Meeting Password: 054781

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                                  the Judicial Conference of the United States, which governs the practices of the federal
                                  courts. All persons granted remote access to proceedings are reminded of the general
                                  prohibition against photographing, recording, screenshots, streaming, and
                                  rebroadcasting in any form, of court proceedings. Violation of these prohibitions may
                                  result in sanctions, including restricted entry to future hearings, denial of entry to
                                  future hearings, or any other sanctions deemed necessary by the court. (Langello, N)
                                  (Entered: 12/10/2024)
              12/17/2024    172 Minute Entry for proceedings held before Judge Robert M. Spector: Discovery
                                Conference held on 12/17/2024. 53 minutes (Court Reporter CourtSmart.) (Langello,
                                N) (Entered: 12/17/2024)
              12/18/2024    173 ORDER denying in part and finding as moot in part 168 Motion to Compel. In
                                summary, the plaintiff's motion to compel requested four distinct forms of relief: (1) a
                                denial of sanctions against the plaintiff on the grounds the defendants' request is
                                baseless, (2) a court order that the defendants answer interrogatories notwithstanding
                                previously lodged objections, (3) sanctions against the defendants for failing to comply
                                with their discovery obligations, and (4) an investigation into improper judicial
                                conduct. At the discovery conference held December 17, 2024, defense counsel
                                clarified that the defendants have not moved for sanctions. Therefore, Issue One is
                                MOOT. For the remaining topics, based on the district court's referral at Doc. No. 169
                                −− referring the case "for a ruling on the discovery dispute and related request for
                                sanctions raised by Plaintiff in 168 First MOTION to Compel" −− the undersigned
                                addressed all but the fourth issue.

                                  Issue Two: Along with the motion to compel, the plaintiff filed Officer Kelsey
                                  Marschall's objections and responses to sixteen interrogatories that he served on
                                  October 6, 2024. (Doc. No. 168 at 722). The defendants lodged objections but also
                                  included responses notwithstanding the objections to fifteen out of sixteen of the
                                  interrogatories. The Court reviewed each interrogatory response with the plaintiff, and
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                                  the plaintiff confirmed he understands the meaning of each response. Based on the
                                  matters discussed during the discovery conference and the fact that the defendant
                                  answered fifteen out of sixteen interrogatories notwithstanding the objections, the
                                  Court DENIES the motion as to Issue Two.

                                  Issue Three: The plaintiff seeks sanctions against the defendants for failing to satisfy
                                  their discovery obligations. Having reviewed all interrogatories with the parties and
                                  denying the motion as to Issue Two, the Court finds the defendants did not violate
                                  their discovery obligations as to this issue. The Court then reviewed its discovery order
                                  at Doc. No. 144 in which it compelled the defendants to produce specific documents.
                                  Defense counsel clarified that they complied with the order and do not have additional
                                  documents, including video footage. Based on defense counsel's representations, the
                                  Court finds the defendants have satisfied their discovery obligations. Should the
                                  defendants discover responsive documents in the future, they shall supplement the
                                  discovery pursuant to Rule 26(e)(1) of the Federal Rules of Civil Procedure.
                                  Therefore, the motion is DENIED as to Issue Three. Signed by Judge Robert M.
                                  Spector on 12/18/2024. (Lee, Elisabeth) (Entered: 12/18/2024)
              12/18/2024    174 First RESPONSE PLAINTIFFS RESPONSE TO THE COURTS ORDER ON MOTION
                                TO COMPEL doc 173 filed by ORane M. Cornish, Jr. (Attachments: # 1 Exhibit
                                defendats anbswers on 11−5−2024 to plaintiffs interogatorries)(Cornish, ORane)
                                (Entered: 12/18/2024)
              12/27/2024    175 ORDER denying 159 Motion to Transfer/Disqualify/Recuse Judge; denying 160
                                Motion to Vacate; denying 161 Motion for Reconsideration; denying 162 Motion to
                                Transfer/Disqualify/Recuse Judge; denying 163 Motion to Vacate. On November 6,
                                2024, the Court denied Plaintiff's 134 and 138 motions to amend, and granted in part
                                and denied in part Defendants' 58 Motion to Dismiss. ECF Nos. 156, 157. Over the
                                next two days, Plaintiff filed four motions seeking: (1) the recusal of, and investigation
                                into, the undersigned for purported misconduct; (2) vacatur and/or independent review
                                of the Court's prior orders; and/or (3) broadly speaking, reconsideration of the Court's
                                orders on Plaintiff's motions to amend and Defendants' Motion to Dismiss.

                                  As to Plaintiff's motions to recuse−−which appear to be based solely on the Court's
                                  adverse rulings against him−−the Court observes that prior rulings alone are not a
                                  valid basis for recusal, and reiterates that it harbors no bias in favor of Defendants, or
                                  any personal animus or antagonism toward Plaintiff or the merits of his case. See
                                  United States v. Andrews, No. 3:20−CV−1300, 2022 WL 819545, at *3 (D. Conn.
                                  Mar. 18, 2022) ("[I]t is... well−established that adverse rulings against the defendant
                                  do not render a judge biased such that recusal is proper."). Accordingly, Plaintiff's
                                  requests for recusal of, and investigation into, the undersigned are DENIED.

                                  Turning to the motion for reconsideration, this Court has likewise already advised
                                  Plaintiff that a motion for reconsideration is an extraordinary request granted only in
                                  rare circumstances, that the relevant standard is strict, and that Plaintiff's ongoing and
                                  persistent interest in relitigating issues already decided is not sufficient. See ECF Nos.
                                  36, 112, 136. At issue here, Plaintiff challenges the Court's prior ruling disallowing his
                                  purported FOI claim. But Plaintiff has not accurately identified any controlling
                                  decisions that the Court overlooked or misapplied in denying his motions to amend.
                                  And indeed, it is well−established that the Freedom of Information Act does not apply
                                  to state/municipal agencies (e.g., the Bloomfield Police Department), and that a claim
                                  arising under a state's freedom of information law is not cognizable under Section
                                  1983. See Crowder v. Farinella, No. 3:17−CV−1135 (VAB), 2017 WL 3392546, at *6
                                  (D. Conn. Aug. 7, 2017) (citing Pollnow v. Glennon, 757 F.2d 496, 501 (2d Cir.
                                  1985)). Moreover, the Court repeats that this litigation is not the appropriate forum to
                                  challenge a FOI response. Rather, Plaintiff may continue to seek relevant information
                                  through the discovery process, as provided for in the Federal Rules of Civil Procedure.

                                  The Court further advises Plaintiff that the dismissal of Officer LaBreck as a defendant
                                  does not itself preclude Plaintiff from seeking related discovery involving Officer
                                  LaBreck. See ECF No. 163. Finally, Plaintiff is advised that any future motions which
                                  seek simply to relitigate issues already raised and decided shall be summarily denied if
                                  they do not meet the exacting reconsideration standard.
                                  It is so ordered. Signed by Judge Kari A. Dooley on December 27, 2024. (Spears, A.)
                                  (Entered: 12/27/2024)
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              12/27/2024    176 ORDER denying 164 Motion to Refile Complaint; denying 165 Motion for Sanctions;
                                denying 166 Motion for Clarification. On November 8, 2024, November 10, 2024, and
                                November 15, 2024, respectively, Plaintiff filed three motions primarily seeking: (1) to
                                "refile the Complaint" in light of purported "newly discovered evidence," see ECF No.
                                164; (2) a "hearing to examine the nature and extent of any communications between
                                Defendants and [the Court]," and related sanctions, see ECF No. 165; and (3) an order
                                compelling Defendants to provide "all relevant evidence," on pain of sanctions and an
                                adverse inference as to the existence of probable cause for Plaintiff's arrest, see ECF
                                No. 166. On December 2, 2024, Defendants filed an objection to the foregoing
                                motions. ECF No. 167. For the reasons that follow, each of Plaintiff's motions is
                                DENIED.

                                  First, the 164 Motion to Refile Complaint, which the Court construes as yet another
                                  motion to amend, is denied for the same reasons previously−−and repeatedly−−set
                                  forth by the Court, e.g., Plaintiff's failure to comply with the Federal Rules of Civil
                                  Procedure and the Court's explicit instructions regarding motions to amend, among
                                  other deficiencies. See ECF Nos. 75, 79, 128, 133, 156. Moreover, to the extent
                                  Plaintiff invokes Fed. R. Civ. P. 15(d), the Court observes that "[t]he same substantive
                                  standard applies when analyzing a motion under Rules 15(d) and 15(a)." Wertzberger
                                  v. Shapiro, DiCaro & Barak LLC, No. 19−CV−4272 (MKB), 2021 WL 327619, at *3
                                  (E.D.N.Y. Feb. 1, 2021). As to Plaintiff's 165 Motion for Sanctions, notwithstanding
                                  Plaintiff's wholly unfounded accusation to the contrary, the Court has not had any
                                  improper ex parte communications with Defendants or defense counsel, and the
                                  motion is denied on this basis alone. Regarding Plaintiff's 166 Motion for
                                  Clarification, the Court refers Plaintiff to Magistrate Judge Spector's 173 Order on
                                  Plaintiff's subsequently filed 168 Motion to Compel, and further advises Plaintiff that
                                  he may continue to seek information about the basis for his arrest−−including any
                                  relevant audio recordings−−through the discovery process. Lastly, insofar as these
                                  motions seek recusal of the undersigned, reassignment of the case to a different district
                                  judge, and/or otherwise assert allegations of purported judicial misconduct, they are
                                  denied for the reasons set forth in the Court's 175 Order.
                                  It is so ordered. Signed by Judge Kari A. Dooley on December 27, 2024. (Spears, A.)
                                  (Entered: 12/27/2024)
              12/31/2024    177 OBJECTION re 174 Response (Objection to Plaintiff's Response to Motion to Compel)
                                filed by Kelsey Marschall. (Jakiela, Kristan) (Entered: 12/31/2024)
              02/24/2025    178 MOTION to Take Deposition from Orane M. Cornish, Jr., Victim #1 A.L., Victim #2
                                J.L. (Motion for Leave to Hold Depositions at the Federal Courthouse) by Kelsey
                                Marschall. (Attachments: # 1 Exhibit A)(Jakiela, Kristan) (Entered: 02/24/2025)
              02/25/2025    179 First OBJECTION PLAINTIFFS OBJECTION TO DEFENDANTS DEPOSITION
                                REQUEST filed by ORane M. Cornish, Jr. (Attachments: # 1 Exhibit JL police
                                report)(Cornish, ORane) (Entered: 02/25/2025)
              02/25/2025          MOTION REFERRED to Magistrate Judge Robert M. Spector including 178
                                  MOTION to Take Deposition from Orane M. Cornish, Jr., Victim #1 A.L., Victim #2
                                  J.L. (Motion for Leave to Hold Depositions at the Federal Courthouse). (Gould, K)
                                  (Entered: 02/25/2025)
              02/25/2025    180 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. A Discovery
                                Conference is set for 3/4/2025 at 10:00 AM before Judge Robert M. Spector.

                                  NOTICE regarding hearing via Zoom: The Discovery Conference scheduled for
                                  03/04/2025 at 10:00 AM will be conducted via Zoom.

                                  Call−in and Public Access Number: +1 646 828 7666

                                  Meeting ID: 160 705 8553

                                  Meeting Password: 729279

                                  The Court will distribute the video link to the parties via email.
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                                  Please note: Members of the public are permitted to join this hearing by audio
                                  only using the public access number above. Video participation is permitted by
                                  the parties and counsel only. This is in accordance with the remote access policies of
                                  the Judicial Conference of the United States, which governs the practices of the federal
                                  courts. All persons granted remote access to proceedings are reminded of the general
                                  prohibition against photographing, recording, screenshots, streaming, and
                                  rebroadcasting in any form, of court proceedings. Violation of these prohibitions may
                                  result in sanctions, including restricted entry to future hearings, denial of entry to
                                  future hearings, or any other sanctions deemed necessary by the court. (Lee, Elisabeth)
                                  (Entered: 02/25/2025)
              03/04/2025    181 Minute Entry for proceedings held before Judge Robert M. Spector: Discovery
                                Conference held on 3/4/2025. 21 minutes (Court Reporter CourtSmart.) (Langello, N)
                                (Entered: 03/04/2025)
              03/04/2025    182 First MOTION to Seal PLAINTIFFS MOTION TO SEAL AND BAR DEPOSITIONS,
                                STRIKE EXHIBIT A, AND TO STRIKE DEFENDANTS ATTEMPT TO CREATE
                                EVIDENCE POST−ARREST defense motion to depose by ORane M. Cornish, Jr.
                                (Cornish, ORane) (Entered: 03/04/2025)
              03/04/2025    183 ORDER granting in part and denying in part 178 MOTION to Take Deposition from
                                Orane M. Cornish, Jr., Victim #1 A.L., Victim #2 J.L. (Motion for Leave to Hold
                                Depositions at the Federal Courthouse). During the discovery conference, the Court
                                discussed the deposition process and possible solutions that might be agreeable to both
                                parties. As discussed and agreed to by the parties, the Court orders the deposition of
                                ORane Cornish, Jr. and Victim # 2 J.L. to be conducted virtually, i.e., either by audio
                                or video conference. These two depositions shall take place on the noticed deposition
                                dates/times: (1) for the plaintiff, on March 18, 2025 at 1:00 P.M.; and (2) for J.L. on
                                March 19, 2025 at 12:00 P.M. Following these depositions, if defense counsel
                                concludes that the deposition of Victim # 1 A.L. is necessary, she may file a motion on
                                or before March 26, 2025, proposing a reasonable procedure for conducting the
                                witness's deposition in light of the concerns raised during today's discovery
                                conference. The plaintiff shall respond on or before April 2, 2025. Should the plaintiff
                                feel it is necessary to reference health information about any witnesses in the response,
                                he should move to seal that information and comply with the Local Rule on sealing: D.
                                Conn. L. Civ. R. 5(e). Signed by Judge Robert M. Spector on 03/04/2025. (Lee,
                                Elisabeth) (Entered: 03/04/2025)
              03/04/2025    184 ORDER denying 182 First MOTION to Seal PLAINTIFFS MOTION TO SEAL AND
                                BAR DEPOSITIONS, STRIKE EXHIBIT A, AND TO STRIKE DEFENDANTS
                                ATTEMPT TO CREATE EVIDENCE POST−ARREST defense motion to depose. In
                                this motion to seal, the plaintiff does not move to seal any information pursuant to
                                Local Rule 5(e). Therefore, his motion is improper and lacks merit. Rather, he seeks an
                                order (a) barring the depositions this Court already addressed during today's discovery
                                conference, (b) striking defense counsel's email and future deposition testimony, and
                                (c) for the production of evidence, which the defendants contend justify the September
                                2020 arrest. Much of the motion overlaps with his objection to the defendants' 178
                                Motion. In addition, the Court has already addressed these arguments in previous
                                orders and will not revisit them here. (Doc. Nos. 144, 155, 173, 183). It is so ordered.
                                Signed by Judge Robert M. Spector on 03/04/2025. (Lee, Elisabeth) (Entered:
                                03/04/2025)
              03/05/2025    185 First MOTION for Reconsideration PLAINTIFF'S MOTION FOR
                                RECONSIDERATION OF ORDER GRANTING DEPOSITIONS, NOTICE OF
                                APPEAL TO SECOND CIRCUIT, AND REPORT TO JUDICIAL AUTHORITIES by
                                ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 03/05/2025)
              03/05/2025    186 First Memorandum in Support re 185 First MOTION for Reconsideration
                                PLAINTIFF'S MOTION FOR RECONSIDERATION OF ORDER GRANTING
                                DEPOSITIONS, NOTICE OF APPEAL TO SECOND CIRCUIT, AND REPORT TO
                                JUDICIAL AUTHORITIES PLAINTIFFS NOTICE AND MEMORANDUM OF LAW
                                RECONSIDERATION OF ORDER GRANTING DEPOSITIONS, NOTICE OF
                                APPEAL TO SECOND CIRCUIT, AND REPORT TO JUDICIAL AUTHORITIES filed
                                by ORane M. Cornish, Jr. (Cornish, ORane) (Entered: 03/05/2025)
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              03/05/2025    187 First MOTION to Quash MOTION TO QUASH SUBPOENA FOR DEPOSITION OF
                                JAMAL LAIDLEY PENDING SECOND CIRCUIT REVIEW OF JUDGE SPECTOR'S
                                ORDER by ORane M. Cornish, Jr.Responses due by 3/26/2025 (Attachments: # 1
                                Exhibit subpoena)(Cornish, ORane) (Entered: 03/05/2025)
              03/06/2025          MOTIONS REFERRED to Magistrate Judge Robert M. Spector including 185 First
                                  MOTION for Reconsideration PLAINTIFF'S MOTION FOR RECONSIDERATION
                                  OF ORDER GRANTING DEPOSITIONS, NOTICE OF APPEAL TO SECOND
                                  CIRCUIT, AND REPORT TO JUDICIAL AUTHORITIES, 187 First MOTION to
                                  Quash MOTION TO QUASH SUBPOENA FOR DEPOSITION OF JAMAL LAIDLEY
                                  PENDING SECOND CIRCUIT REVIEW OF JUDGE SPECTOR'S ORDER. Motions
                                  referred to Magistrate Judge Robert M. Spector. (Gould, K) (Entered: 03/06/2025)
              03/14/2025    188 ORDER denying 185 First MOTION for Reconsideration PLAINTIFF'S MOTION
                                FOR RECONSIDERATION OF ORDER GRANTING DEPOSITIONS, NOTICE OF
                                APPEAL TO SECOND CIRCUIT, AND REPORT TO JUDICIAL AUTHORITIES. The
                                undersigned adopts and incorporates the legal standard previously used by the district
                                judge. (See Doc. No. 133). "A motion for reconsideration is an extraordinary request
                                that is granted only in rare circumstances, such as where the court failed to consider
                                evidence or binding authority." Van Buskirk v. United Grp. of Companies, Inc., 935
                                F.3d 49, 54 (2d Cir. 2019). "The standard for granting such a motion is strict, and
                                reconsideration will generally be denied unless the moving party can point to
                                controlling decisions or data that the court overlooked−−matters, in other words, that
                                might reasonably be expected to alter the conclusion reached by the court." Id.
                                (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)). "If 'the
                                moving party is seeking solely to relitigate an issue already decided,' the court should
                                deny the motion for reconsideration and adhere to its prior decision." Collins v.
                                Blumenthal, 581 F. Supp. 2d 289, 290 (D. Conn. 2008) (quoting Shrader, 70 F.3d at
                                257) (alterations omitted); see also Young v. Choinski, 15 F. Supp. 3d 194, 197 (D.
                                Conn. 2014) ("It is well−settled that a motion for reconsideration is 'not a vehicle for
                                relitigating old issues, presenting the case under new theories, securing a rehearing on
                                the merits, or otherwise taking a second bite at the apple.'") (quoting Analytical
                                Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012), as amended
                                (July 13, 2012) (internal quotation marks omitted)).

                                  Here, the plaintiff seeks the Court's reconsideration of its Order at Doc. No. 183 in
                                  which it (1) ordered the virtual depositions of the plaintiff and J.L. on March 18 and
                                  19, 2025; and (2) directed the defendant to file a motion requesting A.L.'s deposition
                                  if, after the first two depositions are concluded, counsel concludes A.L.'s deposition is
                                  necessary. The plaintiff argues that these depositions "constitute an improper attempt
                                  to manufacture evidence post−arrest, violating federal law, Supreme Court precedent,
                                  and the Federal Rules of Civil Procedure." (Doc. No. 185 at 1). He also contends that
                                  the law does not permit A.L.'s and J.L.'s depositions when the Court already ordered
                                  the defendant to produce evidence concerning the September 2020 events. (Id. at 2).
                                  According to the plaintiff, the Court has overlooked exculpatory evidence that the
                                  "Defendants lied in their official reports." (Id.).

                                  The plaintiff seeks to relitigate issues already decided. During the discovery
                                  conference, the plaintiff made the same arguments he makes in the instant motion, and
                                  the Court found them unavailing. At the conference, the Court explained the discovery
                                  process, including that the defendant is entitled to depose people who witnessed the
                                  events at issue. See Fed. R. Civ. P. 26 ("Parties may obtain discovery regarding any
                                  nonprivileged matter that is relevant to any party's claim or defense and proportional to
                                  the needs of the case, considering the importance of the issues at stake in the action,
                                  the amount in controversy, the parties' relative access to relevant information, the
                                  parties' resources, the importance of the discovery in resolving the issues, and whether
                                  the burden or expense of the proposed discovery outweighs its likely benefit."); Fed.
                                  R. Civ. P. 30(a)(1) ("A party may, by oral questions, depose any person, including a
                                  party, without leave of court....). As alleged in the operative complaint, A.L. and J.L.
                                  are key witnesses to several events relevant to the plaintiff's claims. Accordingly, the
                                  depositions are warranted under the Federal Rules. In any event, during the discovery
                                  conference, the plaintiff agreed to the depositions of J.L. and him, maintaining only his
                                  objection as to A.L.'s deposition. For these reasons, the motion for reconsideration is
                                  denied for failure to satisfy the strict reconsideration standard. Signed by Judge Robert
                                  M. Spector on 03/14/2025. (Lee, Elisabeth) (Entered: 03/14/2025)
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              03/14/2025    189 ORDER denying 187 First MOTION to Quash MOTION TO QUASH SUBPOENA
                                FOR DEPOSITION OF JAMAL LAIDLEY PENDING SECOND CIRCUIT REVIEW
                                OF JUDGE SPECTOR'S ORDER. In this motion, the plaintiff argues the Court should
                                quash the deposition of J.L. until the Second Circuit rules on his appeal of the
                                undersigned's order directing the depositions of J.L. and him (Doc. No. 183). First, the
                                docket does not indicate that the plaintiff has appealed that ruling. Second, the plaintiff
                                agreed to the deposition of J.L. during the discovery conference. Third, the plaintiff
                                has not established that the deposition would cause an undue burden or otherwise
                                satisfy Rule 45(d)(3) of the Federal Rules of Civil Procedure. Fourth, for the same
                                reasons described in the undersigned's previous order, (Doc. No. 188), J.L. is a key
                                witness in this case and the defendant is entitled to depose him. Therefore, this motion
                                is denied. Signed by Judge Robert M. Spector on 03/14/2025. (Lee, Elisabeth)
                                (Entered: 03/14/2025)
              03/14/2025    190 First RESPONSE PLAINTIFF'S MOTION TO DECLARE DEPOSITION
                                UNLAWFUL, SEEK SANCTIONS AGAINST PARTICIPATING PARTIES, AND
                                FORMALLY REQUEST RECUSAL OF JUDGE SPECTOR filed by ORane M.
                                Cornish, Jr. (Cornish, ORane) (Entered: 03/14/2025)
              03/14/2025    191 First NOTICE by ORane M. Cornish, Jr NOTICE TO THE COURT REGARDING
                                JUDGE SPECTORS UNLAWFUL ORDER AND INTENT TO FILE COMPLAINTS
                                AND LEGAL ACTIONS (Cornish, ORane) (Entered: 03/14/2025)
              03/14/2025    192 NOTICE OF INTERLOCUTORY APPEAL by ORane M. Cornish, Jr. Filing fee $
                                605. (Cornish, ORane) (Entered: 03/14/2025)
              03/15/2025    193 First RESPONSE PLAINTIFFS RESPONSE TO ORDER (Doc. No. 185) DENYING
                                MOTION FOR RECONSIDERATION filed by ORane M. Cornish, Jr. (Cornish,
                                ORane) (Entered: 03/15/2025)
